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UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

January 2016 Grand Jury

UNITED STATES OF AMERICA,
Plaintiff,
Vv.

LAWRENCE RUBLE KELLY,

aka “Puppet,”
aka “Lil’ Puppet,”

aka “Pups,”

aka “P,”
ARMANDO SORIANO,

aka “210,”

aka “Mando,”
ADAN RODRIGUEZ,

aka “Grizzly,”
MARIO DELGADO,

aka “Goblin,”
JUAN LOPEZ,

aka “Spanky,”
FRANCISCO HERNANDEZ,

aka “Pancho,”
JESUS ORTIGOZA,

aka “Chuy,”
ERYANNA NEGRETE,

aka “Baby Gangsta,”

aka “Baby G,”
OTONIEL GUERRERO,

aka “Twin,”
RAUL CORNEJO,
ALEJANDRO CALDERON,

aka “Demon,”
SUSANNA RODRIGUEZ,
JOSE HERNANDEZ AGUIAR,

aka “Big Joe,”
DESTREE HERNANDEZ,

VOCS : CB

 

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CR 15-688 (A)

[18 U.S.C. § 1962(d): Racketeer
Influenced and Corrupt
Organizations Conspiracy; 18
U.S.C. § 1962(c): Racketeer
Influenced and Corrupt
Organizations; 18 U.S.C. §§
1959(a) (1), (a) (5): Violent Crime
in Aid of Racketeering;

21 U.S.C. § 846: Conspiracy to
Possess with Intent to Distribute
and Distribute Methamphetamine; 21
U.S.C. §§ 841 (a) (1), (b) (1) (A),
(b) (1) (B) : Possession with Intent
to Distribute and Distribution of
Methamphetamine; 18 U.S.C.

§ 1512(a) (2): Tampering with a
Witness or Informant; 18 U.S.C.

§ 922(g) (1): Felon in Possession
of a Firearm; 18 U.S.C. § 2(a):
Aiding and Abetting]

 

 
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‘JESSICA FRAUSTO, ,

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aka “Dimples,”
aka “Dez,”
aka “Deserie,”
PAUL SORIANO,
aka “Pablo,”
JEREMY WOODRUFF,
aka “Solo,”
JOSE BECERRA,
aka “Sinaloa,”
JAVIER REYNOSO,
aka “Berto,”
GUADALUPE REYES
aka “Oso,”
JAVIER FRAUSTO,
aka “Candyman, ”
MIGUEL MACIEL,
aka “Goat,”

aka “Lil Jess,”
MARCOS TAVAREZ,
EDWARD WILLIAM GUERRERO,

aka “Toro,”
JUAN CARLOS HERNANDEZ,

aka “Negro Trece,”
ANGELINA GARCIA,

aka “Little One,”
GILBERT LIZALDE,

aka “Sniper,” , c,
NELSON MARTINEZ,

aka “Lil Torch,” and
JESSE SANCHEG,.:

aka “Termite,”

Defendants.

 

 

 

 

The Grand Jury charges:

INTRODUCTORY ALLEGATIONS

A. GENERAL ALLEGATIONS

 

1. At all relevant times, defendants LAWRENCE RUBLE KELLY,
also known as (“aka”). ’Puppet,” aka “Lil’ Puppet,” aka “Pups,” aka
“pp (“, KELLY”) ; ARMANDO SORIANO, aka “210,” aka “Mando” (“A.
SORIANO”); MARIO DELGADO, aka “Goblin” (“DELGADO”); JUAN LOPEZ, aka
“gpanky” (“LOPEZ”); JESUS ORTIGOZA, aka “Chuy” -(SORTIGOZA”) ;

ALEJANDRO CALDERON, aka “Demon” (“CALDERON”) ; SUSANNA RODRIGUEZ (“S.
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RODRIGUEZ”); DESIREE HERNANDEZ, aka “Dimples,” aka “Dez,” aka
“Deserie” (“D. HERNANDEZ”) ; PAUL SORIANO, aka “Pablo” (‘“P. SORIANO”) ;
JEREMY WOODRUFF, aka “Solo” (“WOODRUFF”); JOSE BECERRA, aka “Sinaloa”
(“BECERRA”) ; MARCOS TAVAREZ (“TAVAREZ”) ; EDWARD WILLIAM GUERRERO, aka
“Toro” (“GUERRERO”) ; ANGELINA GARCIA, aka “Lil One” (“GARCIA”); and
JESSE SANCHEZ, aka “Termite” (“SANCHEZ”) (collectively, the
“defendants”); and others were members and associates of an
organization engaged in, among others things, murder, conspiracy to
commit murder, attempted murder, conspiracy to traffic in narcotics,
narcotics-trafficking, robbery, extortion, and witness intimidation.
At all relevant times, this organization, known as the “Wilmas” gang,
which includes “Eastside Wilmas” and “Westside Wilmas” gang members,
operated in the Central District of California and elsewhere. The
Wilmas gang, which includes its leadership, membership, and
associates, constituted an “enterprise,” as defined by Title 18,
United States Code, Section 1961(4), that is a group of individuals
associated in fact. The enterprise engaged in, and its activities
affected, interstate and foreign commerce. The enterprise
constituted an ongoing organization whose members functioned as a
continuing unit for a common purpose of achieving the objectives of

the enterprise.

B. BACKGROUND OF THE WILMAS GANG

2. The Wilmas gang is a multi-generational street gang that
has existed for more than 60 years and claims the area roughly
bounded by Harry Bridges Boulevard on the south, the Harbor Freeway
on the. west, Alameda Street on the east, and Lomita Boulevard on the
north as its “territory,” or “turf,” in Southeast Los Angeles and the
community of Wilmington, from which the organization derives its

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name. The Wilmas gang is divided into “Eastside” and “Westside”
Wilmas, and those segments are further divided into further subsets,
or “cliques.” These are “Hyatt Street,” “Mahar,” and “L Street,”
within the “Rastside Wilmas,” and primarily the “Wilhall Park”
clique, within the “Westside Wilmas.” While ostensibly separated as
“Fastside” and “Westside,” Wilmas gang members frequently associate,
reside in each other’s territory, and combine to commit the crimes of
the organization and under the larger direction and authority of the
Mexican Mafia, a prison-based gang in California that controls many
of the Hispanic street gangs in and around Los Angeles. Revenue in
the form of “taxed” proceeds from the crimes of the organization is
collected by Wilmas gang leaders and, in turn, required to be paid as
“tribute® to the overall organization and Mexican Mafia leaders,
including Wilmas gang members who have become “made” members of the
Mexican Mafia. Mexican Mafia leaders then direct the activities of
the Wilmas gang from within the California State Prison system,
authorize the roles and responsibilities of members within the
organization, and exact the Mexican Mafia’s portion of the revenues
generated from the crimes they commit.

3. Wilmas gang members both identify themselves and threaten

rivals by hand gestures, referred to as “throwing” gang “signs.”

Commonly for the Wilmas, the “sign” is to form the letter “W” and
gesture in a way that identifies members to each other, threatens
rival gang members, or intimidates the general public. Members also
frequently display tattoos with words or letters to identify the
Wilmas gang, “Eastside” or “Westside” factions, or particular
“cliques” within the gang structure, among other violent or
threatening tattoos. Wilmas gang members also commonly use terms to.

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represent the geographic harbor area of Los Angeles, where the gang
is based. Hence, the letters “HA” are used by the gang to signify
the “Harbor Area,” as well as “Wilmero,” which is used to refer toa
person from Wilmington. Wilmas gang members and associates also
frequently include the number “13” and other representations of the
letter “M” or “sureno” in the tattoos and “tagging” as a means to
demonstrate their loyalty to and support from the Mexican Mafia.
Sports paraphernalia is also used to identify gang, sect, or clique
membership. For example, the cap for the St. Louis Cardinals
baseball team might be worn by an “L Street” clique member, because
the “St L” logo worn by the baseball team can be viewed as
representing “L St.”

4. The Wilmas gang also “tags” buildings and signs as a means
to demonstrate its control over the gang’s territory, or “turf,” to
both rival gang members and members of the local community.

“tagging” is not a mere casual act of vandalism. Rather, it is a
means of intimidation, intended to induce fear in the general public,
rival gang members, and law enforcement. Victimized residents and
business owners are not permitted to remove or paint over gang marks,
because the gang uses “tagging” as a public assertion of its
authority. “Tagging” identifies otherwise private homes and.
buildings within Wilmas gang territory as controlled by the gang and
subject to its authority. It is a statement that the home, business,
or structure belongs to the gang, not the resident or business owner.
The tagged message is also a threat to rival gang members, the
community, and even to law enforcement, that the neighborhood and
persons within it are under the control of the Wilmas gang. Tagged
messages, therefore, frequently include gang and clique names, as

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well as overt and coded threats of violence and murder, such as the
number 187, which identifies the section of the California Penal Code
that criminalizes murder. ‘The number 187, therefore, is intended to
signify that the gang has killed persons in its territory and will
continue to kill those who oppose the gang. The letters “DTK” also
appear frequently, to convey that the Wilmas gang is “down to kill.”
Additionally, “f*ck the weak” and the word “snitches” crossed over
carry the message that persons cooperating with law enforcement
against the Wilmas gang will be killed.

| 5. The Wilmas gang controls its territory through intimidation
and acts of violence directed against law enforcement, rival gang
members, fellow Wilmas gang members, and the general public. As a
result, the relatively small community of Wilmington has suffered a
substantial number of murders and deadly assaults, and the Wilmas
gang is believed to be responsible for a substantial portion of the
gang crime within the Harbor Division of the Los Angeles Police
Department. Wilmas gang members have also established a history of
attacks on law enforcement officers conducting patrol in Wilmas gang
territory, including incidents like the. one that occurred on April 2,
2008, when Wilmas gang member David Sedillo fired multiple rounds at
Los Angeles Police Department Officers, striking one officer in the
chest; January 31, 2012, when three Wilmas gang members, including a
Wilmas “shot-caller,” fired at officers froma barricaded position in
Wilmas gang territory; and, again, on February 13, 2013, when a
Wilmas gang member repeatedly shot at law enforcement officers in
Wilmas gang territory and tried to escape from the officers in a

stolen car.

 

 
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6.. The Wilmas gang is also a racist organization and has been
historically antagonistic to the presence of African-Americans in
Wilmas gang territory. Wilmas gang members have frequently targeted
African-Americans who enter or attempt to reside within the area
claimed by the Wilmas gang.

7. The Wilmas gang is frequently engaged in the distribution
of narcotic drugs, especially methamphetamine. The Mexican Mafia and
Mexican Mafia leaders exercise authority over the distribution of
narcotics and the profits from narcotics trafficking by Wilmas gang
members, directing members to work together as a means to maintain
the profits from narcotics distribution and other crimes of the
organization. “Eastside” and “Westside” Wilmas gang members,
therefore, combine to supply narcotics to one another for
distribution and, in turn, distribute-narcotics within Wilmas gang
territory, as well as to control the distribution of narcotics by
preventing the incursion of rival gang members and narcotics-
traffickers and “taxing” associate narcotics-traffickers in Wilmas
gang territory. Wilmas gang members also combine for purposes of
assessing and collecting “taxes” within Wilmas gang territory and
verifying that “taxed” narcotics proceeds are properly paid to the
larger organization and as directed by the Mexican Mafia.

8. Wilmas gang members also maintain and distribute a ready
supply of firearms, including handguns, shotguns, and assault rifles
in order to protect their narcotics-distribution trade, carry out
attacks in the neighborhood, and to enforce the authority of the gang
within its territory. Firearms are frequently stolen or
unregistered, so that their use in the commission of violent crimes
cannot be readily connected to the gang member responsible for the

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offense. Traceable firearms typically need to be discarded or
destroyed after they have been used in a crime. As a result, gang
members need consistent access to a ready supply of unregistered or
stolen firearms and the means to sell surreptitiously weapons that
they have used to commit crimes. The trade and sale of firearms by
Wilmas gang members ‘is, therefore, commonplace, both as a means of.
obtaining replacement firearms and to dispose of firearms that have
recently been used in the commission of a violent crime.

9. Wilmas gang members and associates are typically undeterred

‘from the commission of crimes by arrests or periods of incarceration

and will often continue to plan and execute crimes while in custody.
Hence, incarcerated gang members make use of telephone calls from
inside detention facilities, prison notes (known as “kites”),
meetings among inmates within an institution, and prison visits, as
means to continue to coordinate and conduct the crimes of the
organization, despite incarceration. Unincarcerated members and
associates also frequently coordinate with incarcerated members in
order to continue to commit crimes and maintain the role of the
incarcerated members in the crimes of the organization and upon their
release from prison.

10. Female gang members and associates play a substantial role
in narcotics-trafficking, weapons distribution, the collection and
transfer of “taxes” and narcotics proceeds, armed assaults, murders,
and the maintenance of communications within the larger organization,
among both “outside” members and associates and long-term
incarcerated Wilmas and Mexican Mafia leadership. Females are also
frequently responsible to direct telephone communications and, at
times, operate as the “secretary” to a Mexican Mafia leader, managing

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directions, “kites,” and “taxes” to and from that Mexican Mafia
leader.

11. Wilmas gang members enforce the authority of the gang to
commit its crimes by directing acts of violence and retaliation
against non-compliant drug-traffickers operating within Wilmas gang
territory, as well as non-compliant Wilmas gang members and members
of the general public. Wilmas gang members also threaten and carry
out attacks against persons whom they suspect might testify or
provide information to law enforcement about crimes committed by the
gang. The Wilmas gang controls and terrorizes the community through

violence and intimidation, open threats and murder, all of which has

culminated in a neighborhood that is beyond the rule of law.

12. The State of California issued an injunction against the
“Pastside” and “Westside Wilmas” on May 23, 2001 and again on March
9, 2004 (“the Gang Injunction”) to restrict the activities of the
gang as a public nuisance and specifically named defendants L. KELLY,
SANCHEZ, and others in the injunction. haw enforcement officers have
served the Gang Injunction on documented members of the Wilmas gang
as a means to notify the members and enforce the restrictions of the
Gang Injunction. The Gang Injunction also describes the criminal
nature of the organization and characteristic crimes committed by
“Rastside” and “Westside” members of the Wilmas gang.

Cc. | MEXICAN MAFIA AUTHORITY FOR THE WILMAS GANG

-13. The Wilmas gang is a surenos gang, which means that it is
loyal to, supports, and contributes to the “Mexican Mafia,” also
known as “La Eme.” The Mexican Mafia is a prison gang that was
organized within the California State Prison system in order to
control and direct the activities of Southern California street

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gangs. “Made” members of the Mexican Mafia have assumed authority
for different regions in Southern California. Typically, a “made”
member is an inmate within the California State Prison system and
exercises his control and direction over the region from within the
state prison facility where he is housed. Some members are also:-out
of custody and, therefore, able to exercise authority directly from
within neighborhoods and communities in Southern California and
elsewhere. The Mexican Mafia leaders issue directions and orders,
including orders to kill rival gang members, members of law
enforcement, and members of the public, which are referred to as
“green lights.” Those orders are to be executed by surenos gang
members and are understood by surenos gang members as carrying the
opportunity to elevate their status within the organization or
potentially to become a “made” member, referred to as a “prother,” of
the organization. |

14. The Mexican Mafia has established rules to govern acts of
violence committed by local street gang members, including Wilmas
gang members. The Mexican Mafia, thus, requires members to adhere to
protocols for the conduct of violent attacks, narcotics trafficking,
and murders, including the issuance of “green light” authorizations
for murder. Failure to adhere to Mexican Mafia rules can also lead
to the issuance of a “green light,” directing an attack on the
offending member, or the requirement that money be paid to the
organization. “Green lights” are also frequently issued in
retaliation for a perceived “disrespect” to a Mexican Mafia leader,
to punish the unauthorized collection of “tax” payments in a
neighborhood controlled by the gang, or to sanction individuals who
traffic in narcotics without the gang’s authorization or without

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paying the required “tax” to the Wilmas and Mexican Mafia, or who
delay in paying “taxes.” “Green lights” may be executed by Mexican
Mafia, surenos gang members, or others seeking to gain favor or
status with the Mexican Mafia and gang community.

15, Mexican Mafia and Wilmas gang members and associates
regularly exploit prison visits, telephone calls, policies concerning
letter-communications with attorneys, and prison monetary accounts in
order to generate income from narcotics trafficking and other crimes
of the enterprise, in order to promote the criminal enterprise and
direct the operation of Wilmas gang from within the California State.
Prison system. Mexican Mafia leaders also require regular payments
from prisoners incarcerated in the Los Angeles County Jail system.

16. Wilmas gang leaders extort money from local narcotics |
traffickers, Wilmas gang members, members of other street gangs,
residents and persons who maintain businesses in the area claimed by
the gang. A portion of the “taxes” collected by the Wilmas gang is
then paid to the Mexican Mafia leadership incarcerated within the
California State Prison system and exercising control in the
community. “Taxes” are often paid as covert deliveries to Post
Office boxes and deposited into prison bank accounts for Mexican
Mafia members incarcerated within the California state prison system.
D. MEXICAN MAFIA LEADERSHIP AND OPERATION

17. At least four Wilmas gang members have been validated
Mexican Mafia “brothers.” They include Mexican Mafia Member #1,
Mexican Mafia Member #2, and, formerly, Mexican Mafia Member #3.
Mexican Mafia “brothers” exercise authority over the Wilmas gang and

Wilmas gang territory, dividing up neighborhoods within Southern

|California and elsewhere for the collection of “taxes,” distribution

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of narcotics and other crimes. The recently deceased Mexican Mafia
Member #3 was also a Mexican Mafia member who had been released from
custody. As such, Mexican Mafia Member #3 was able to exercise
authority over the Wilmas gang and assert the interests of other,
incarcerated Mexican Mafia members who are entitled to receive
“taxes” collected from Wilmas gang members and issue directions to
them. Mexican Mafia members also use Mexican Mafia leaders and high-
ranking gang members and associates, including defendants L. KELLY,
A. SORIANO, and ORTIGOZA, to collect “taxes” and execute directives
from the Mexican Mafia leadership. .

18. The Mexican Mafia leadership also relies significantly on
the support of “secretaries,” who operate as conduits for the
organization and its leadership. Because Mexican Mafia leaders are
frequently incarcerated, some serving lifetime sentences, and
sometimes segregated from other inmates, Mexican Mafia leaders
frequently use specific “secretaries” to transport and deliver
communications, “kites,” and “tax” payments and manage proceeds of
the criminal enterprise. “Kites” conceal coded messages that are
frequently disguised and hidden in magazines and letters sent to and
from the California state prisons, which then communicate the
directions and orders of the Mexican Mafia for the Wilmas and other
surenos gangs.

BE. PURPOSES OF THE ENTERPRISE

19. The purposes of the Wilmas gang, include, but are not
limited to, the following:

a. enriching members of the Wilmas gang and Mexican Mafia

through, among other things, the control of and participation in the

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distribution of narcotics in the territory controlled by the Wilmas
gang.

b. Maintaining the control and authority of the Wilmas
gang over the neighborhoods: it controls, often through threats and
acts of violence. |

Cc. Preserving, protecting, and expanding the power of the
Wilmas gang through the use of intimidation, violence, threats of
violence, assault, and murder.

d. Promoting and enhancing the authority of the Wilmas
gang members and associates. .

20, The means and methods by which the defendants and their co-
racketeers conduct and participate in the conduct of the affairs of
the Wilmas gang include:

a. Members of the Wilmas gang commit, attempt, and
threaten to commit acts of violence to protect and expand the
enterprise criminal operation, including assaults, murder,
intimidation, and threats of violence directed against each other,
rival gang members, members of law enforcement, and potential
witnesses in criminal prosecutions.

b. Members of the Wilmas gang promote a climate of fear
and terrorize the community through acts of violence and threats to
commit acts of violence.

om To enforce the authority of the Wilmas gang, members
use the enterprise to murder, attempt to murder, assault, and
threaten those who pose a threat to the enterprise.

om Participants in the Wilmas gang engage in trafficking
controlled substances and extorting proceeds from the sale of

controlled substances as a means to generate income.

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COUNT ONE
[18 U.S.C. § 1962 (d)]

1. Paragraphs One through Twenty of the Introductory
Allegations of this First Superseding Indictment are re-alleged and
incorporated by reference as though fully set forth herein.

A. THE OBJECT OF THE CONS PIRACY

2. Beginning on a date unknown, and continuing to on or about
October 27, 2016, in Los Angeles County, within the Central- District
of California, and elsewhere, defendants L. KELLY, A. SORIANO,
DELGADO, J. LOPEZ, ORTIGOZA, CALDERON, S. RODRIGUEZ, D. “HERNANDEZ, P.
SORIANO, WOODRUFF, BECERRA, TAVAREZ, E. GUERRERO, GARCIA, and
SANCHEZ, and others, being persons employed by and associated with
the Wilmas criminal enterprise, which enterprise engaged in and the
activities of which affected interstate and foreign commerce,
unlawfully and knowingly combined, conspired, confederated, and
agreed together and with each other to violate Title 18, United
States Code, Section 1962, that is, to conduct and participate,
directly and indirectly, in the conduct of the affairs of the ;
enterprise through a pattern of racketeering activity, as that term
is defined in Title 18, United States Code, Sections 1961(1) and
1961(5), consisting of multiple acts involving murder, in violation
of California’ Penal Code Sections 21a, 31, 182, 187, 189, 217.1, and
664; extortion, in violation of California Penal Code Sections 21a,
31, 182, 518, 519, 520, and 664; ‘conspiracy to distribute and
distribution of controlled substances, including methamphetamine, in
violation of Title 21, United States Code, Sections 841 (a) (1) and
846; and witness tampering, in violation of Title 18, United States
Code, Section 1512. It was further part of the conspiracy that each

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defendant agreed that a conspirator would commit at least two acts of
racketeering in the conduct of the affairs of the enterprise.

B. MEANS BY WHICH THE OBJECT OF THE CONSPIRACY WAS TO BE

 

ACCOMPLISHED
3. The object of the conspiracy was to be accomplished in

substance as follows: |

va. Mexican Mafia leaders and associates, including
Mexican Mafia Member #1, Mexican Mafia Member #2, Mexican Mafia
Member #3, Mexican Mafia Member #4, defendants L. KELLY, A. SORTANO,
and ORTIGOZA, and others would meet with Wilmas gang leaders and
direct the activities of the Wilmas gang, including the distribution
of narcotics and the collection and distribution of “taxed” drug
proceeds, and would authorize and direct acts of violence, including
the attacks on and killing of rival gang members, non-compliant
narcotics traffickers, law enforcement officers, and members of the
public, both from within the California State Prison system and in
the neighborhoods claimed by the Wilmas gang as its territory.

b. Defendants L. KELLY, A. SORIANO, DELGADO, J. LOPEZ,
CALDERON, and WOODRUFF, and others would carry out armed attacks
against law enforcement officers, rival gang members, non-compliant
narcotics-traffickers, suspected witnesses, and others in order to
promote and further the activities of the Wilmas gang.

c. Defendants L. KELLY, A. SORIANO, DELGADO, J. LOPEZ,
CALDERON, S. RODRIGUEZ, D. HERNANDEZ, P. SORTANO, WOODRUFF, BECERRA,
TAVAREZ, E. GUERRERO, GARCIA, and SANCHEZ, and others would obtain
and distribute narcotics in the areas controlled by the Wilmas gang

and inside California State Prisons.

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d. Defendants L. KELLY, A. SORIANO, and ORTIGOZA, and
others, would extort payments from narcotics traffickers, business
owners, and others in Wilmas gang territory under threats that
payment was required by the Mexican Mafia.

e. Defendants L. KELLY, A. SORIANO, DELGADO, J. LOPEZ,
CALDERON, S. RODRIGUEZ, TAVAREZ, and E, GUERRERO, and others, would
maintain, use, and distribute firearms to Wilmas gang members and
others in Wilmas gang territory.

£. Defendants DELGADO, S. RODRIGUEZ, P. SORIANO,
WOODRUFF, and GARCIA, and others, would assist Wilmas gang members in
the commission and violent crimes and narcotics trafficking, as well
as the concealment of those offenses from law enforcement, by
disposing of evidence of crimes or threatening witnesses to those
crimes.

Cc. OVERT ACTS

4, In furtherance of the conspiracy, and to accomplish the
object of the conspiracy, on or about the following dates, defendants
L. KELLY, A. SORIANO, DELGADO, J. LOPEZ, ORTIGOZA, CALDERON, S.
RODRIGUEZ, D. HERNANDEZ, P. SORIANO, WOODRUFF, BECERRA, TAVAREZ, E.
GUERRERO, GARCIA, and SANCHEZ, land others known and unknown to the
Grand Jury, committed various overt acts, within the Central District
of California, and elsewhere, including, but not limited to, the
following:
| Overt Act No. 1: On September 30, 2000, defendant SANCHEZ
possessed a Winchester 12: gauge shotgun, bearing serial number
L2409924, a Derringer 2 shot pistol, and ammunition in Wilmas gang

territory.

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Overt Act No. 2: On March 7, 2006, defendant S. RODRIGUEZ and
an unindicted co-conspirator possessed individual plastic bags
containing. approximately 6.25 grams of methamphetamine, packaging
material, scales, spoons, syringes, and a credit card belonging to
another person in Wilmas gang territory.

“Overt Act No; 3: on November 3, 2007, defendant L. KELLY and
an unindicted co-conspirator extorted payment from H.H. after a
Wilmas gang member discarded a firearm in H.H.’s yard, while fleeing
from law enforcement, and H.H. assisted law enforcement officers in
seizing the firearm. .

Overt Act No. 4: on March 13, 2008, a Wilmas gang member shot

at law enforcement officers in an attempt to kill them in Wilmas gang

territory.
Overt Act No. 5: On April 2, 2008, a Wilmas gang member led

law enforcement officers on a high speed chase through Wilmas gang
territory and attempted to kill the officers by shooting at them with
a .22 caliber revolver handgun, striking Officer A.M. in the chest.

Overt Act No. 6: On October 21, 2010, defendant CALDERON
attempted to escape from law enforcement officers in order to avoid
being caught with shotgun shells, a knife, and methamphetamine in
Willhall Park, within Wilmas gang territory.

Overt Act No. 7: On February 15, 2011, defendant 5. GUERRERO
possessed a loaded High Standard .22 caliber revolver, bearing serial
number 1626358, and eight rounds of ammunition, as he attempted to
escape from law enforcement officers in Wilmas gang territory.

Overt Act No. 8: On January 23, 2012, defendant CALDERON

possessed methamphetamine in Wilmington, California.

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Overt Act No. 9: On January 31, 2012, defendant E, GUERRERO
and two other Wilmas gang members “threw” Wilmas gang signs at law
enforcement officers and barricaded themselves in an alley, while one
of the Wilmas gang members attempted to kill law enforcement officers

by shooting at the officers with a .38 Special handgun.

 

Overt Act No. 10: On February 17, 2012, defendant A. SORIANO
possessed a loaded Smith and Wesson .357 revolver, bearing serial
number AED5947, and six rounds of ammunition, while riding in a car
with two other Wilmas gang members; and defendant A. SORIANO
attempted to escape from law enforcement officers when they attempted
to arrest him in Wilmas gang territory.

Overt Act No. il: On February 26, 2012, Wilmas gang members

 

shot 16-year-old M.M. to death on Bay View Avenue in Wilmington, and
executed 16-year-old C.R. by shooting her in the head 10 times with a
9 mm handgun as she tried to escape by hiding between parked cars.

Overt Act No. 12:.. On May 12, 2012, defendant BECERRA met with

 

a confidential government informant and discussed arrangements to
transport narcotics between Los Angeles, California, Arizona, and

Nevada.

Overt Act No. 13: On June 6, 2012, defendant BECERRA sold

 

approximately 26.4 grams of methamphetamine to a confidential

government informant.

Overt Act No. 14: On July 2, 2012, defendant BECERRA offered

 

to sell methamphetamine and a firearm to a confidential government

informant:

Overt Act No. 15: On July 3, 2012, defendant BECERRA sold 26.2

 

grams of methamphetamine to a confidential government informant and

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possessed a .357 caliber revolver handgun, which BECERRA also offered
to sell to the informant.

Overt Act No. 16: On July 9, 2012, defendant BECERRA possessed

 

methamphetamine and a .357 caliber revolver handgun in Wilmas gang
territory.

Overt Act No, 17: On July 22, 2012, Wilmas gang members shot

 

E.P. and I.Z. in an alley in Wilmington, California, killing E.P.

Overt Act No. 18: On September 5, 2012, defendant TAVAREZ told

 

a confidential government informant that he had multiple firearms to
sell, provided his telephone number, and offered to sell a shotgun to
the informant in Wilmas gang territory.

Overt Act No. 19: On September 25, 2012, defendant TAVAREZ

 

offered to sell a pump action shotgun to a confidential government

informant for $450.

Overt Act No. 20: On September 26, 2012, by telephone using

 

coded language, a Wilmas gang member used defendant E. GUERRERO’ s
telephone to arrange to sell two ounces of methamphetamine to a

confidential government informant.

Overt Act No. 21: On September 26, 2012, defendant E. GUERRERO

 

and another Wilmas gang member sold approximately 45.0 grams of

methamphetamine to a confidential government informant for $1,300 at

la residence on Bay View Avenue in Wilmas gang territory.

Overt Act No. 22: On October 16, 2012, defendant E,. GUERRERO

 

possessed a loaded Smith and Wesson .40 caliber handgun, bearing
serial number PBH2190, and attempted to’escape from law enforcement
officers by fleeing into a residence in Wilmas gang territory and

discarding his weapon and clothes.

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Overt Act No. 23: On October 18, 2012, defendant TAVAREZ sold

 

a ging An, model HL12-102, 12-gauge pump action shotgun with a pistol
grip, bearing serial number 9604729, a Derringer style handgun, and 5
rounds of .22 caliber ammunition to a confidential government
informant at an automotive shop in Wilmas gang territory.

Overt Act No. 24: On October 30, 2012, by telephone using

,

coded language, a Wilmas gang member told defendant E. GUERRERO that

 

a Wilmas gang leader had called her on behalf of defendant L. KELLY,

demanding payment for methamphetamine that defendant E. GUERRERO had

-obtained from defendant L. KELLY before defendant E. GUERRERO became.

incarcerated, that the Wilmas gang member would pay $1000 to
defendant L. KELLY, then sell narcotics for defendant L. KELLY to pay
the remainder of what defendant E. GUERRERO owed, and defendant E.
GUERRERO directed the Wilmas gang member to have defendant L. KELLY
deliver “work” to her, rather than going to defendant L. KELLY’s
residence, and agreed to call defendant L. KELLY to arrange for
defendant L. KELLY to supply narcotics to the Wilmas gang member.

Overt Act No. 25: On October 30, 2012, by telephone using

 

coded language, a Wilmas gang member told defendant EB. GUERRERO that
she had $1,300 to pay defendant L.: KELLY.

Overt Act No. 26: On October 30, 2012, by telephone using

 

coded language, defendant E. GUERRERO told defendant L. KELLY that E.
GUERRERO had $1, 300 to pay for the methamphetamine he had purchased
from defendant L. KELLY and that another Wilmas gang member would
sell narcotics for L. KELLY, and L. KELLY told defendant E. GUERRERO
that L. KELLY had directed another Wilmas gang leader to collect the

payment from the Wilmas gang member.

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Overt Act No. 27: On October 30, 2012, by telephone using

 

coded language, a Wilmas gang member told defendant E. GUERRERO that
she had no money and only a half-ounce of methamphetamine, and
defendant E. GUERRERO told the Wilmas gang member to contact
defendant L. KELLY to obtain more methamphetamine.

Overt Act No. 28: On October 31, 2012, by telephone using

 

coded language, defendant E. GUERRERO told another Wilmas gang member
that she would be arrested if she came to the prison where he was
incarcerated and that she should get identification for someone who
looked like her,

Overt Act No. 29: On November 2, 2012, by telephone using

 

coded language, a Wilmas gang member agreed to provide
methamphetamine to defendant BE. GUERRERO while he was incarcerated.

Overt Act No. 30: On November 4, 2012, by telephone using

 

coded language, a Wilmas gang member told defendant E. GUERRERO that
defendant L. KELLY was not answering her telephone calls, and
defendant E. GUERRERO told the gang member how to obtain narcotics
from the source. | |

Overt Act No. 31: On November 4, 2012, by telephone using

 

coded language, a Wilmas gang member told defendant E. GUERRERO that
she would use the identification for G.V. when she brought narcotics
to defendant E. GUERRERO while he was incarcerated.

Overt Act No. 32: On November 7, 2012, by telephone using

 

coded language, a Wilmas gang member told defendant Ek. GUERRERO that
she had not heard from defendant L. KELLY or another Wilmas gang
member, but that she had obtained proceeds from narcotics sales and

“taxes” that had been paid.

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Overt Act No. 33: On November 7, 2012, defendant TAVAREZ

 

offered to sell an AK-47 assault rifle to a confidential government
informant for $1500.

Overt Act No. 34: On November 10, 2012, a Wilmas gang member

 

used G.V.’s identification in order to gain access and attempted to
deliver approximately 11.6 grams of methamphetamine to defendant E.

GUERRERO at the Pitchess Detention Center in Castaic, California.

 

Overt Act No. 35: On November 10, 2012, by telephone using
coded language, a Wilmas gang member asked an unindicted co-
conspirator to’ provide the Wilmas gang member with identifying
information for G.V., so that she could attempt to persuade officers
that she was actually G.V., after the gang member was arrested for
attempting to smuggle methamphetamine to defendant E. GUERRERO,
inside the Pitchess Detention Center in Castaic, California.

Overt Act No. 36: On November 12, 2012, by telephone using

 

coded language, defendant TAVAREZ told a confidential government
informant that he had sold the “cuerno” assault rifle, but that he
would sell two handguns to the informant for $900.

Overt Act No. 37: On November 12, 2012, by telephone using

 

coded language, defendant E. GUERRERO asked an unindicted co-~
conspirator to assist in providing bail for another Wilmas gang

member after her arrest and to assault another person “in the West

Me

way.

Overt Act No. 38: On November 14, 2012, defendant TAVAREZ sold

 

a Ruger GP100 .357 caliber revolver, bearing serial number 170-77412;
a Colt Cobra .32 caliber revolver, bearing serial number H95548; five
rounds of .357 caliber ammunition; and 17 rounds of .32 caliber
ammunition at an automotive shop in Wilmington, California, and

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defendant TAVAREZ told the informant that he would advise the
informant when defendant TAVAREZ had larger firearms available.

Overt Act No. 39: On November 15, 2012, defendant CALDERON

 

identified himself as “Demon” and a “Westside Wilmas” gang member
when law enforcement officers arrested him in Wilmas gang territory.

Overt Act. No. 40: On December 13, 2012, defendant TAVAREZ

 

possessed a Mossberg .410' gauge shotgun at an automotive shop in

Wilmington, California.

 

Overt Act No. 41: On December 18, 2012, by telephone using
coded language, defendant TAVAREZ offered to sell a Mossberg .410
gauge shotgun to a confidential government informant.

Overt Act No. 42: On December 19, 2012, defendant TAVAREZ and

 

an unidentified co-conspirator sold a Mossberg .410 gauge shotgun,
bearing serial number H949614, to a confidential government informant
at an automotive shop in Wilmington, California.

Overt Act No. 43: On January 21, 2013, defendant DELGADO and |

 

two other Wilmas gang members murdered E.T. by shooting E.T. seven
times with two 9 mm handguns, in Wilmas gang territory.

Overt Act No. 44: On January 24, 2013, defendant S. RODRIGUEZ

 

sold a Mossberg .410 gauge shotgun, bearing serial number K255074,
and a bulletproof vest to a confidential government informant in: an

apartment in Wilmas gang territory.

Overt Act No. 45: On January 30, 2013, defendant S. RODRIGUEZ

 

delivered the trigger assembly for a shotgun defendant S. RODRIGUEZ
had previously sold to a confidential government informant on January

24, 2013.

Overt Act No. 46: On February 4, 2013, defendant CALDERON

 

offered to sell a .38 caliber. handgun and a 9 mm handgun to a

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confidential government informant, but warned the informant that
defendant CALDERON had “burned” the 9 mm handgun by using it in a
shooting.

Overt Act No. 47: On February 4, 2013, defendant S. RODRIGUEZ

 

arranged for a confidential government informant to meet with
defendant J. LOPEZ in order to buy methamphetamine from defendant J.

LOPEZ.

Overt Act No. 48: On February 6, 2013, defendants CALDERON and

 

S, RODRIGUEZ possessed and displayed a .44 caliber handgun during a
meeting with a confidential government informant.

Overt Act No. 49: On February 6, 2013, defendant J. LOPEZ

 

provided his telephone number and agreed to sell three ounces of
methamphetamine to a confidential government informant.

Overt Act No. 50: On February 12, 2013, defendant J. LOPEZ

 

sold approximately 82.4 grams of methamphetamine to a confidential
government informant, in exchange for $1,650, at an apartment in
WilmaS gang territory.

Overt Act No. 51: On, February 13, 2013, defendant. CALDERON and

 

two other Wilmas gang members attempted to kill law enforcement

officers by shooting at the officers with a Smith and Wesson .40
caliber “handgun, bearing serial number PBA 8515, while driving a
stolen a near Wilhall Park, in Wilmas gang territory.

“Overt Act No. 52: On February 16, 2013, defendant A. SORIANO

 

drove in a car with two other Wilmas gang members and threw gang

‘signs at other cars in Wilmas gang territory.

 

Overt Act No. 53: On March 5, 2013, a Wilmas gang member
demanded $4,500 to remove a “green light” imposed by Mexican Mafia
members against a confidential government informant.

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Overt Act No. 54: On March 12, 2013, defendant J. LOPEZ sold

 

approximately 83 grams of methamphetamine to a confidential
government informant for $1,650, at an apartment in Wilmas gang
territory.

Overt Act. No. 55: On April 15, 2013, defendant J. LOPEZ sold

 

approximately 82.2 grams of methamphetamine to a confidential
government informant for $1,650, at an apartment in Wilmas gang
territory.

Overt Act No. 56: On May 16, 2013, by text message using coded

 

language, defendant A. SORIANO agreed to sell two ounces of “good”
methamphetamine to a confidential government informant for $1,200,
and then agreed to reduce the price to $1,100.

Overt Act No. 57: On June 4, 2013, by telephone using coded

 

language, defendant J. LOPEZ told a co-conspirator that there had not
been any complaints about the quality of methamphetamine the co-

conspirator had.provided.

Overt Act No. 58: On June 5, 2013, by telephone using coded

 

language, defendant A. SORIANO agreed to sell one ounce of

methamphetamine to a confidential government informant for $500.

 

Overt Act No.. 59: On June 6, 2013, defendant A. SORIANO told a
confidential government informant that A. SORIANO was not able to
deliver methamphetamine at that time, because “it’s been hot. I did

a shooting last week.”

Overt Act No. .60: On June 6, 2013, by telephone using coded

 

language, defendant J. LOPEZ agreed to deliver one ounce of

methamphetamine to another Wilmas gang member.

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Overt Act No. 61: On June 6, 2013, by telephone using coded

 

language, defendant SANCHEZ agreed to deliver $300 of drug proceeds

to defendant J. LOPEZ at J. LOPEZ’ residence.

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Overt Act No. 62: On June 7, 2013, by text message using coded

 

language, a Wilmas gang member advised defendant J. LOPEZ that the
Wilmas gang member had $200 to pay for one half-ounce of
methamphetamine and wanted to purchase a full ounce of
methamphetamine from defendant J. LOPEZ that day.

Overt Act No. 63: On June 8, 2013, by text messages using

 

coded language, defendant SANCHEZ told defendant J. LOPEZ that
defendant SANCHEZ had $300 and wanted to purchase additional
methamphetamine from defendant J. LOPEZ. .

Overt Act No. 64: On June 8, 2013, by text message using coded

 

language, a co-conspirator arranged to deliver methamphetamine to

defendant J. LOPEZ.

Overt Act No. 65: On June 10, 2013, by text messages using

 

coded language, a Wilmas gang member arranged to purchase one ounce
of methamphetamine from defendant J. LOPEZ for $400, and defendant J.
LOPEZ told the gang member to be careful when coming to defendant J.
LOPEZ’ residence.

Overt Act No. 66: On June 12, 2013, by text messages using

 

coded language, defendant SANCHEZ told defendant J. LOPEZ that
defendant SANCHEZ had $250 in drug proceeds for defendant J. LOPEZ.

Overt Act No. 67: On June 13, 2013, by telephone using coded

 

language, a Wilmas gang member told defendant J. LOPEZ that drug
sales were slow but that the gang member had sold almost all of the
drugs in his possession and had at least $1,000 in drug proceeds that
he would deliver to defendant J. LOPEZ later that day.

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Overt Act No. 68: On June 14, 2013, by telephone using coded

 

language, defendant SANCHEZ asked to meet with defendant J. LOPEZ to
deliver drug proceeds to defendant J. LOPEZ, and defendant J. LOPEZ
said that defendant SANCHEZ should deliver the money to another .
Wilmas gang member instead.

Overt Act No. 69: On June 15, 2013, by telephone using coded

 

language, a Wilmas gang member told defendant J. LOPEZ that he had
drug proceeds to deliver to defendant J. LOPEZ, and defendant J.
LOPEZ and the Wilmas gang member discussed the need to avoid
detection by law enforcement. | | |

Overt Act No. 70: On June 16, 2013, by telephone using coded

 

language, defendant J. LOPEZ asked a co-conspirator to deliver
methamphetamine to defendant J. LOPEZ’ residence.

Overt Act No. 71: ' On June 18, 2013, by telephone using coded

 

language, a Wilmas gang member told defendant J. LOPEZ that the gang
member needed to dispose of one-and-a-half ounces of methamphetamine
to avoid being caught by law enforcement.

Overt Act No. 72: On June 18, 2013, by telephone using coded

 

language, a Wilmas gang member asked defendant J. LOPEZ if J. LOPEZ
had methamphetamine available, and J. LOPEZ’ told the Wilmas gang
member to come to J. LOPEZ" residence, because he did not want to
discuss narcotics sales over the telephone.

Overt Act No. 73: On June 19, 2013, by telephone 1 using coded

 

language, defendant J. LOPEZ agreed to deliver methamphetamine to a

Wilmas gang member at defendant J. LOPEZ’ residence on Flint Street

in Wilmington, California.

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Overt Act No. 74: On June 19, 2013, a Wilmas gang member drove

 

to defendant J. LOPEZ’ residence and obtained methamphetamine from

|| defendant J. LOPEZ.

Overt Act No. 75: On June 19, 2013, by telephone using coded

 

language, a Wilmas gang member arranged to deliver proceeds from her
recent methamphetamine sale to defendant J. LOPEZ at his residence.

Overt Act No. 76: On June 19, 2013, by text message using

 

coded language, defendant J. LOPEZ told a Wilmas gang member that an
unidentified co-conspirator was collecting narcotics proceeds and
that the Wilmas gang member should also be collecting proceeds.

Overt Act No. 77: On June 19, 2013, by text message using

 

coded language, a Wilmas gang member told defendant J. LOPEZ that he
had $600 and approximately 23 grams of methamphetamine remaining.

Overt Act No. 78: On June 20, 2013, by telephone using coded

 

language, a Wilmas gang member told defendant J. LOPEZ to be careful,
because there was a heavy police presence in the neighborhood.

Overt Act No. 79: On June 20, 2013, by telephone using coded

 

language, a Wilmas gang member asked defendant J. LOPEZ to “front”
one ounce of methamphetamine, and defendant J. LOPEZ told the Wilmas
gang member that they would discuss it in person.

Overt Act No. 80: On June 22, 2013, by telephone using coded

 

language, a co-conspirator told defendant J. LOPEZ that he had only
four ounces of methamphetamine at that time, but that the co-
conspirator was expecting his. suppliers to deliver additional

methamphetamine.

Overt Act No. 81: On June 23, 2013, by telephone using coded

 

language, defendant J. LOPEZ told an incarcerated Wilmas gang member

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that defendant J. LOPEZ would smuggle narcotics to him at the
Pleasant Valley State Prison.

Overt Act No. 82: On June 24, 2013, by text messages using

 

coded language, defendant J. LOPEZ asked defendant SANCHEZ if
defendant SANCHEZ had paid the “balance” he owed to another Wilmas
gang member, and defendant SANCHEZ said that he would pay the Wilmas
gang member that night, when defendant SANCHEZ picked up additional
methamphetamine.

Overt Act No. 83: On June 24, 2013, by text message using

 

coded language, a Wilmas gang member asked defendant J. LOPEZ to
provide one half-ounce of methamphetamine to him.

Overt Act No. 84: On June 25, 2013, by text messages using

 

coded language, a Wilmas gang member asked defendant J. LOPEZ if Jd.
LOPEZ had methamphetamine available, and defendant J. LOPEZ told the
Wilmas gang member to come to Jd. LOPEZ’ residence.

Overt Act No. 85: On dune 25, 2013, by telephone using coded

 

language, an incarcerated Wilmas gang member asked defendant J. LOPEZ
to identify the type of narcotics defendant J. LOPEZ would smuggle
into the Pleasant Valley State Prison, and defendant J. LOPEZ said
that: he did not want to identify the narcotics over the telephone,
but that he knew how to do it.

Overt Act No. 86: On June 26, 2013, by text messages using

 

coded language, defendant J. LOPEZ agreed to sell one half-ounce of
methamphetamine to an unidentified co-conspirator.

Overt Act No. 87: On June 26, 2013, by text messages using

 

coded language, defendant J. LOPEZ agreed to sell one quarter-ounce

of methamphetamine to another Wilmas gang member for $110.

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Overt Act No. 88: On July 3, 2013, by telephone using coded

 

language, a’ Wilmas gang member told defendant J. LOPEZ that he still
had “dope,” and defendant J. LOPEZ admonished the gang member to “say
1“

it a little louder on the mother*cking phone, you dumb mother*cker

Overt Act No. 89: On July 4, 2013, by text message using coded

 

language, a Wilmas gang member told defendant J. LOPEZ that the most
recent batch of methamphetamine that defendant J. LOPEZ had provided
was 60 grams “short” from the agreed-upon amount.

Overt Act No. 90: On July 9, 2013, by telephone using coded

 

language, a Wilmas gang member told defendant J. LOPEZ that defendant
A. SORIANO was attempting to “tax” him, and that defendant L. KELLY
wanted to meet in person with the Wilmas gang member to collect the
“tax” payment. |

Overt Act No. 91: On July 9, 2013, by telephone using coded

 

language, a Wilmas gang member told defendant J. LOPEZ that defendant
1. KELLY had called him to “tax” him, and the Wilmas gang member
complained that defendant J. LOPEZ was not “looking out” for him.

Overt Act No. 92: On July 9, 2013, by telephone using coded

 

language, an incarcerated Wilmas gang member told defendant J. LOPEZ
that he would have to pay a Villa Boys gang member “'Capone’ from
Pasadena,” for authorization to sell narcotics and collect “taxes,”
and that defendant J. LOPEZ would then be “covered” by Mexican Mafia
Member #1 or Mexican Mafia Member #2, who had authority over Wilmas
gang territory; and defendant J. LOPEZ said that he was being
questioned by defendant Lh. KELLY and asked the incarcerated Wilmas
gang member to contact “Capone” quickly on defendant J. LOPEZ’

behalf.

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.Overt Act No. 93: On July 9, 2013, by telephone using coded

 

language, an incarcerated Wilmas gang member told defendant J. LOPEZ
that the incarcerated member had “texted” and was sending money to
the Mexican Mafia representative in Pasadena for defendant J. LOPEZ
and identified the address for him on Flower Street.

Overt Act No. 94: On July 9, 2013, by telephone using coded

 

language, defendant J. LOPEZ told an incarcerated Wilmas gang member
that defendant J. LOPEZ would be meeting with the Mexican Mafia
representative in Pasadena that night in order to address the payment
‘of “taxes” by J. LOPEZ, and J. LOPEZ said that he paid “taxes” to
multiple Mexican Mafia gang members, “not just one,” including
Mexican Mafia members incarcerated in the California State Prison at
Corcoran, California.

Overt Act No. 95: On July 9, 2013, by telephone using coded

 

language, an incarcerated Wilmas gang member provided defendant J.
LOPEZ with contact information for an inmate in the California State
Prison in Pelican Bay, California, and offered to contact a Mexican
Mafia member who was out of prison, to assist defendant J. LOPEZ with

“taxes” defendant J. LOPEZ was required to pay to the Mexican Mafia.

 

Overt Act No. 96: On July 11, 2013, by telephone using coded
language, defendant J. LOPEZ and another Wilmas gang member discussed
several individuals who owed them money for drug debts, including
defendant SANCHEZ, and how they should collect the money.

Overt Act No. 97: On July 12, 2013, by telephone using coded

 

language, defendant J. LOPEZ told an unindicted co-conspirator that
she should sell methamphetamine for between $550 and $600 per ounce.

Overt Act No. 98: On July 13, 2013, by text messages using

 

coded language, defendant SANCHEZ asked defendant J. LOPEZ to call

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him as soon as possible, because there were three police vehicles
parked at another Wilmas gang member’s residence, and defendant J.
LOPEZ told defendant SANCHEZ not to worry because the police were
actually responding to an incident across the street from the
residence.

Overt Act No. 99: On July 16, 2013, by telephone using coded

 

language, defendant J. LOPEZ asked a co-conspirator if he would meet
in order to prepare methamphetamine for distribution.

Overt Act No. 100: On August 1, 2013, by telephone using coded

 

language, a Wilmas gang member agreed to drive with defendant J.
LOPEZ to conduct a methamphetamine transaction. .

Overt Act No. 101: On August 1, 2013, by telephone using coded

 

language, a Wilmas gang member arranged to obtain methamphetamine
from defendant J. LOPEZ.

Overt Act No. 102: On August 17, 2013, by text messages and

 

telephone using coded language, defendant J. LOPEZ used a Wilmas gang
member’ s telephone to sell methamphetamine while that gang member was

in custody.

Overt Act No. 103: On September 9, 2013, Mexican Mafia Member

 

#3 met with another Mexican Mafia leader anda confidential
government informant at the El Compadre restaurant on Sunset
Boulevard in Los Angeles, California and told the informant that
Mexican Mafia Member #3 had just been released from’ prison after
serving 23 years for bank robbery and had spoken to other Mexican
Mafia leaders about control over the neighborhoods by the Mexican
Mafia and that he was willing to accept control over the city of
Gardena and grateful to Mexican Mafia Member #1 for giving him that
authority, and Mexican Mafia Member #3 said that he was also aware

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that “Capone” from Pasadena had been collecting “taxes” in Gardena
under authority from a Mexican Mafia member in Pelican Bay State
Prison, but that another Mexican Mafia member had also told Mexican
Mafia Member #3 that “Capone” would not be permitted to collect
“taxes” from the “homies” in the harbor area.

Overt Act No. 104: On September 13, 2013, by telephone using

 

coded language, defendants A. SORIANO and D. HERNANDEZ negotiated
with an unindicted co-conspirator to purchase highly pure
methamphetamine from Sinaloa, Mexico, and defendant D. HERNANDEZ told
defendant A. SORIANO that the methamphetamine was “way better than |
what” defendant L. KELLY had and that there was “no cut. in it.”

Overt Act No. 105: On September 13, 2013, by telephone using

 

coded language, .defendant A. SORIANO told defendant D. HERNANDEZ that
he wanted to speak with defendant L. KELLY before meeting the
Sinaloan methamphetamine supplier, because defendant L. KELLY might
want to either participate or might question the risk of changing
from their established sources of supply; and defendant A. SORIANO
also stated that he wanted to introduce the Sinaloa source of supply
to Mexican Mafia member #3.

Overt Act No. 106: On September 14, 2013,. by telephone using

 

coded language, defendant A. SORIANO told an unidentified co-
conspirator to ask her friend if she wanted to purchase narcotics

because defendant A. SORIANO needed money.

 

Overt Act No. 107: On September 14, 2013, using coded language,
defendant A. SORIANO told defendant D. HERNANDEZ to bring defendant |
A. SORIANO the narcotics that were located in the middle of defendant

D. HERNANDEZ’ car, and defendant D. HERNANDEZ agreed.

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Overt Act No. 108: On September 14, 2013, by telephone using

 

coded language, Mexican Mafia member #3 told defendant A. SORIANO
that Mexican Mafia Member #3 had been “trying to get that
motherf*cker in San Pedro” and asked if defendant A. SORIANO was “in”
for the “mission,” and Mexican Mafia Member #3 directed defendant A.
SORIANO to contact defendant L. KELLY, if defendant A. SORIANO had
any questions. |

Overt Act No. 109: On September 15, 2013, by telephone using

 

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‘coded language, defendant GARCIA told defendant A. SORIANO that
defendant GARCIA had gone to “handle some business in Long Beach”
with an unidentified co-conspirator who was “on a mission,” and that
defendant GARCIA was looking for S.M.

‘Overt Act No. 110: On September 15, 2013, by telephone using

 

coded language, defendant A. SORIANO told defendant DELGADO to “get
ready,” because defendant A. SORIANO had an assignment for him in San
Pedro, California and confirmed that it would be done “in broad |
daylight”; and defendant DELGADO said “okay” and told defendant A.
SORIANO to pick defendant DELGADO up.

Overt Act No. 111: On September 15, 2013, by telephone using

 

coded language, defendant A. SORIANO told an unindicted co-
conspirator that defendant A. SORIANO needed a “357” handgun and that
defendant A. SORIANO had run out of “ammo.”

Overt Act No. 112: On September 15, 2013, defendant A. SORIANO

 

shot S.M. in San Pedro, California, and fled from the scene in

defendant D. HERNANDEZ’ car.

Overt Act No. 113: On September 15, 2013, by telephone using

 

coded language, defendant A. SORIANO told defendant hl. KELLY that “it

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was already done,” and defendant A. SORIANO confirmed that he had
“just done with ‘0’ boy’” and was leaving San Pedro, California.

Overt Act No. 114: On September 15, ° 2013, by telephone using

 

coded language, defendant A. SORIANO asked an unindicted co-
conspirator to obtain either 9 mm or:.380 caliber bullets for
defendant A. SORIANO, and defendant A. SORIANO also asked defendant
GARCIA to confirm whether an unindicted co-conspirator wanted to
purchase an additional quantity of methamphetamine and also told
defendant GARCIA that he had already shot S.M.

Overt Act No. 115: On September 15, 2013, by telephone using

 

coded language, defendant A. SORIANO described the shooting of S.M.
to an unindicted co-conspirator by saying that defendant A. SORIANO

“already took care of that dude, so that was a wrap with that sh*t.”

 

Overt Act No. 116: On September 15, 2013, by telephone using
coded language, defendant A. SORIANO told defendant GARCIA that S.M.
had been “smoked out, shot up and everything,” and defendant A.
SORIANO then directed defendant GARCIA to obtain more ammunition.

Overt Act No. 117: On September 15, 2013, by telephone using

 

coded language, defendant A. SORIANO told an unindicted co-
conspirator that he had run out of bullets and asked the unindicted
co-conspirator if she could provide him with more 9 mm bullets.

Overt Act No. 118: On September 15, 2013, by telephone using

 

coded language, defendant A. SORIANO asked another unindicted co-
conspirator to obtain 9 mm or .380 caliber bullets for him, because
defendant A. SORIANO had run out of ammunition.

Overt Act No. 119: On September 15, 2013, by telephone using

 

coded language, defendant A. SORIANO told defendant L. KELLY that
another individual had told defendant A. SORIANO that the individual

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|lhad better quality drugs than did defendants L. KELLY and A. SORIANO,

and that the individual would sell it in defendant A. SORIANO’s

locations.

 

“Overt Act No. 120: On September 15, 2013, by telephone using
coded language; defendant L. KELLY said that defendant A. SORTANO
should order another member of the organization to assault the
individual making the challenge to theiz organization’s control of
its drug locations.

Overt Act No. 121: On September 16, 2013, by telephone using

 

coded language, defendant A. SORIANO asked defendant GARCIA if.
defendant GARCIA had heard anything about 5.M. being “hit,” because
defendant A. SORIANO was “sure he got that n*gga”; and defendant A.
SORIANO also asked if the co-conspirator knew anyone who had more 9
mm bullets.

Overt Act No. 122: On September 16, 2013, by telephone using

 

coded language, defendant A. SORIANO agreed to deliver narcotics to

defendant DELGADO instead of delivering money to defendant DELGADO.

 

Overt Act No. 123: On September 16, 2013, by telephone using
coded language, defendant WOODRUFF told defendant A. SORIANO that he
had identified the location of a confidential government witness who
would testify against a Wilmas gang member who was charged with
murder, and defendant A. SORIANO directed defendant WOODRUFF to wait
and meet with defendant A. SORIANO in person.

Overt Act No. 124: On September 16, 2013, by telephone using

 

coded language, defendant A. SORIANO told defendant L. KELLY that A.
SORIANO had located “the snitch” who would testify against a Wilmas

gang member who was charged with murder, and defendant L. KELLY

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directed defendant A. SORIANO to meet with defendant L. KELLY in
person.

Overt. Act No. 125: On September 16, 2013, defendants A. SORIANO

 

and WOODRUFF arrived at the motel where a confidential government
witness had been residing and waited until law enforcement officers
removed the witness from the location.

Overt Act No. 126: On September 16, 2013, by telephone using

 

coded language, defendants A. SORIANO and L. KELLY agreed to meet to

discuss the confidential government witness.

 

Overt Act No. 127: On-September 17, 2013, by text message using
coded language, defendant A. SORIANO told defendant GARCIA that
defendant A. SORIANO would supply an unidentified co-conspirator with
nine grams of methamphetamine, and defendant GARCIA told defendant A.
SORIANO to “hold” one ounce for the unindicted co-conspirator.

Overt Act No. 128: On September 17, 2013, by telephone using

 

coded language, defendant DELGADO asked defendant A. SORIANO to
provide defendant DELGADO with narcotics for distribution.

' Overt Act No. 129: On September 17, 2013, by telephone using

 

coded language, a Wilmas gang member agreed to contact defendant J.
LOPEZ for methamphetamine to provide to defendant A. SORIANO.

Overt Act No. 130: On September 18, 2013, by telephone using

 

coded language, defendant A. SORIANO told defendant GARCIA that
defendant A. SORIANO had held a gun in each hand when he shot S.M.,
who was not armed, and that he believed he had killed S.M.; but
defendant GARCIA told defendant A. SORIANO that S.M. had only been
hit “in the ass,” and defendant GARCIA also told defendant A. SORIANO
that an unindicted co-conspirator would buy more narcotics from
defendant A. SORIANO soon.

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Overt Act No. 131: On September 18, 2013, by telephone using

 

coded language, defendant A. SORIANO told defendant L. KELLY: that
S.M. was in the hospital after having been shot in two places.

Overt Act No. 132: On September 18, 2013, by telephone using

 

coded language, defendant WOODRUFF told defendant A. SORIANO that he
had been in an altercation with a rival gang member who had showed
his “colors” and wanted to “cut him up,” and defendant A. SORIANO
asked defendant WOODRUFF if he needed any “work” and how much he was
paying for one ounce of methamphetamine; and, defendant WOODRUFF
replied that. defendant A. SORIANO should know since defendant A.
SORIANO was his source of supply.

Overt Act No. 133: On September 18, 2013, by telephone using

 

coded language, defendant A. SORIANO told defendant WOODRUFF that

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defendant A. SORIANO had narcotics to supply:

Overt Act No. 134: On September 18, 2013, by telephone using

 

coded language, defendant A. SORIANO arranged to obtain bullets from
an unidentified co-conspirator and agreed to sell narcotics to the

unidentified co-conspirator.

Overt Act No. 135: On September 18, 2013, by telephone using

 

coded language, defendant A. SORIANO told defendant WOODRUFF that he
needed defendant WOODRUFF’s help to “move this work” and arranged to
sell one ounce of methamphetamine to defendant WOODRUFF.

Overt Act No. 136: On September 18, 2013, by telephone using

 

coded language, defendant A. SORIANO told defendant L. KELLY that a
Wilmas gang member and an unindicted co-conspirator had asked how.
much they would have to pay in order to be permitted sell drugs in
Wilmas gang territory, and defendant L. KELLY said to charge them
$200 and asked which of them would be responsible for paying the tax

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going forward, to which defendant A. SORIANO answered that it would
be the Wilmas gang member.

Overt Act No. 137: On September 18, 2013, by telephone using

 

coded language, defendant A. SORIANO told an unidentified co-
conspirator that he had obtained one ounce of methamphetamine from a
Wilmas gang member for $350.

Overt Act No. 138: On September 18, 2013, by telephone using

 

coded language, defendant A. SORIANO told another Wilmas gang member
that defendant A. SORIANO was going to put him in touch with

defendant lL. KELLY because defendant L. KELLY wanted to talk to him.

 

Overt Act No. 139: On September 18, 2013, by telephone using
coded language, defendant A. SORIANO told an unidentified co-
conspirator that he was waiting for another Wilmas gang member to
drop off drugs and that the Wilmas gang member was giving him a
“great deal.” |

Overt Act No. 140: On September 18, 2013, by telephone using

 

coded language, a Wilmas gang member agreed to sell one and a half

ounces of methamphetamine to defendants A. SORIANO and P. SORIANO.

 

Overt Act No. 141: On September 18, 2013, by telephone using
coded language, a Wilmas gang member asked defendant A. SORIANO if he
still needed one ounce of methamphetamine, and defendant A. SORIANO
said he was willing to pay between $350 and $400 for the
methamphetamine as long as the Wilmas gang member was not obtaining
the methamphetamine from another Wilmas gang member.

Overt Act No. 142: On September 18, 2013, by telephone using

 

coded language, defendant L. KELLY told another Wilmas gang member
that it would cost $50 a month each for him and a female associate to
sell drugs in the neighborhood controlled by the Wilmas gang and that

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it would be $100 a month for a third person to do 80, and defendant
L. KELLY ordered the other Wilmas gang.member to be the one
responsible each month for getting the payments to defendant L.
KELLY. |

Overt Act No. 143: On September 18, 2013, by telephone using

 

coded language, a Wilmas gang member told defendant A. SORIANO that
he had collected $50 in “taxes” from an associate and that he would
deliver the money to defendant A. SORTANO when defendant A. SORIANO
was in the “hood.”

Overt Act No. 144: On September 18, 2013, by telephone using

 

coded language, defendant A. SORIANO warned defendant lh. KELLY about
‘federal law enforcement vehicles in Wilmas gang territory, and .
defendant L. KELLY ordered defendant A. SORIANO to follow the law
enforcement vehicles to see where they were going and advise
defendant L. KELLY because defendant L. KELLY was in the middle of

selling drugs.

Overt Act No. 145: On September 18, 2013, by telephone using

 

coded language, defendant A. SORIANO agreed to sell one half-ounce of
methamphetamine to a Wilmas gang member for $230.

Overt Act No. 146: On September 18, 2013, by telephone using

 

coded language, defendant D. HERNANDEZ arranged for defendant A.

SORTANO to deliver methamphetamine to defendant D. HERNANDEZ’

customer.

Overt Act No. 147: On September 18, 2013, by telephone using

 

coded language, an unidentified co-conspirator asked to purchase a
half-ounce of methamphetamine from defendant J, LOPEZ, and the two

agreed on a place to meet for the transaction.

 

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Overt Act No. 148: On September 18, 2013, by telephone using

 

coded language, defendant A. SORIANO told defendant WOODRUFF that
they needed to meet, because a witness had testified to being
assaulted by defendants A. SORIANO and WOODRUFF.

Overt Act No. 149: On September 18, 2013, by telephone using

 

coded language, defendant A. SORIANO told defendant WOODRUFF that he -
believed a female associate was “all bad” for providing information
to law enforcement that led to defendant A. SORIANO being discussed

in a murder prosecution.

 

Overt Act No. 150: On.September 18, 2013, by telephone using
téxt messages, defendant A. SORIANO told defendant L. KELLY that a
“snitch” had said defendant A. SORIANO’s name and testified that

defendant A. SORIANO had been ordered to assault the witness.

 

Overt Act No. 151: On September 19, 2013, by telephone using
coded language, defendant A, ,SORIANO told a Wilmas gang member to
call defendant A. SORIANO first if anyone needed drugs and that .
defendant A. SORIANO would provide them.

Overt Act No. 152: On September 19, 2013, by telephone using

 

coded language, an unidentified co-conspirator told defendant A.
SORIANO that she would need to ask defendant L. KELLY for permission |
before selling drugs to defendant A. SORIANO, and defendant A.
SORIANO said that defendant lL. KELLY would agree because defendant L.
KELLY did not “deal with little things.”

Overt Act No. 153: On September 19, 2013, by telephone using

 

coded language, defendant A. SORIANO told defendant L. KELLY that
defendant A. SORIANO had just met with Mexican Mafia Member #3 and
defendant ORTIGOZA, who said that defendant L. KELLY had paid them
for permission to sell drugs within the territory controlled by their

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organization, and defendant A. SORIANO also advised defendant Le
KELLY that another Wilmas gang member was helping Mexican Mafia
Member. #3 and defendant ORTIGOZA to distribute drugs.

Overt Act No. 154: On September 19, 2013, defendants A. SORIANO

 

and D. HERNANDEZ possessed approximately 32.4 grams of
methamphetamine, which was concealed inside defendant D. HERNANDEZ’
bra while she drove them in a silver Toyota Solara.

Overt Act No. 155: On September 19, 2013, by telephone using

 

coded language, defendant D. HERNANDEZ told defendant P, SORIANO that
law enforcement officers “got” defendants A. SORIANO and D. HERNANDEZ
and an unindicted Wilmas gang member after defendant A. SORIANO put
the methamphetamine inside her bra and fled from officers with the
unindicted Wilmas gang member, that defendant A. SORIANO had asked -.
law enforcement officers to let defendant D. HERNANDEZ go, and that
‘officers knew everything about her and others who: “were gang members

“a

too.

Overt Act_No. 156; On September 19, 2013, by telephone using

 

coded language, defendant D. HERNANDEZ told an unindicted Wilmas gang
member that defendant L. KELLY picked her up from jail, that
defendant D. HERNANDEZ had been tasked with getting defendant L.
KELLY’s firearms back to him so all of defendant A. SORIANO’ s
firearms needed to go back to the person who was collecting them for
defendant lL. KELLY, and defendant D. HERNANDEZ said that she had
falsely claimed to officers that she did not know the unindicted
Wilmas gang member and ended the conversation by acknowledging her
loyalty to the gang by saying, “west.”

Overt Act No. 157: On September 20, 2013, by telephone using

 

coded language, a Wilmas gang member asked defendant J. LOPEZ if

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defendant J. LOPEZ had any methamphetamine for sale, and defendant J.
LOPEZ said he would call him back in 45 minutes.

Overt Act No. 158: On September 20, 2013, by telephone using

 

coded language, defendant D. HERNANDEZ told defendant P. SORIANO that
defendant D. HERNANDEZ was with defendant L. KELLY and needed to
deliver money that was owed to defendant L. KELLY, because another
Wilmas gang member had incorrectly delivered money that defendant A.
SORIANO owed to defendant L. KELLY for methamphetamine.

Overt Act No. 159: On September 20, 2013, by telephone using

 

coded language, defendant P. SORIANO asked defendant D. HERNANDEZ to
locate a .380 caliber handgun for defendant L. KELLY, who wanted that
firearm and another firearm that was possessed by an unindicted co-
conspirator and that defendant P. SORIANO had already delivered money
to defendant L. KELLY, and defendant D. HERNANDEZ said that she
already knew “all the business” and had spoken to L. KELLY.

Overt Act No. 160: On September 20, 2013, by telephone using

 

coded language, a Wilmas gang member told defendant D. HERNANDEZ that
the Wilmas gang member and others were in a “scavenger hunt” to

search for missing firearms.

Overt Act No. 161: On September 20, 2013, by telephone using

 

coded language, defendant D. HERNANDEZ told defendant P. SORIANO that
defendant L. KELLY charged her too much for methamphetamine, that she
was on her way to Wilmington and could deliver narcotics, but that
she did not have a scale, and defendant P. SORIANO told defendant D.
HERNANDEZ that he had a scale to weigh narcotics. |

Overt Act No. 162: On September 21, 2013, by telephone using

 

coded language, defendant GARCIA told another Wilmas gang member that

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defendant GARCIA was “in the hood, driving around” and that she “saw
some fools” and wanted to attack.

Overt Act No. 163: On September 21, 2013, by telephone using

 

coded language, defendant P. SORIANO told a Wilmas gang member that
defendant L. KELLY had directed defendant P. SORIANO to retrieve
firearms from them so that the firearms could be disposed of and
replaced.

Overt Act No. 164: On September 21, 2013, by telephone using

 

coded language, defendant P. SORIANO asked defendant D. HERNANDEZ if
she had been told by defendant L. KELLY that defendant L. KELLY
wanted to collect firearms from them, and defendant D. HERNANDEZ told
defendant P. SORIANO that she had already known.

Overt Act No. 165: On September 24, 2013, by telephone using

 

coded language, defendant D. HERNANDE4 told Mexican Mafia Member #3
that defendant D. HERNANDEZ was attempting to provide Mexican Mafia
Member #3's telephone number to defendant A. SORIANO while defendant
A. SORIANO was in custody, and Mexican Mafia Member #3 asked
defendant D. HERNANDEZ if defendant A. SORIANO needed money and said

that he would give money to defendant D. HERNANDEZ.

 

Overt Act No. 166: On September 24, 2013, by telephone using
coded language, defendant D. HERNANDEZ acknowledged to defendant A.
SORIANO that one of the pieces of methamphetamine in her bra belonged
to her and the other piece of methamphetamine that law enforcement
officers found belonged to defendant A. SORIANO, and she thanked
defendant A. SORIANO for taking responsibility for all of the
methamphetamine. |

Overt Act No. 167: On September 24, 2013, by telephone using

 

coded language, defendant D. HERNANDEZ told defendant A. SORIANO that

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she was selling drugs, and said that she had met with defendant L.
KELLY, who had provided her with a half-ounce of methamphetamine.

Overt Act No. 168: On September 24, 2013, by telephone using

 

coded language, defendant A. SORIANO instructed defendant D.
HERNANDEZ to call his drug customers and tell them that she was
selling drugs now that A. SORIANO was incarcerated, and defendant A. .
SORIANO encouraged defendant D. HERNANDEZ to continue selling drugs
and to “expand” their drug business.

Overt Act No. 169: On or about September 24, 2013, by telephone

 

using coded language, defendant D. HERNANDEZ responded by telling
defendant A. SORIANO to trust her because she knew what she was
doing.

Overt Act No. 170: On or about September 25, 2013, by telephone

 

using coded language, defendant D. HERNANDEZ told an unidentified co-
conspirator that defendant A. SORIANO wanted everyone to know that
they could call defendant D. HERNANDEZ if they wanted to purchase

drugs.
Overt Act No. 171: On September 25, 2013, by telephone using

 

coded language, defendant A. SORIANO instructed defendant D.
HERNANDEZ to obtain a firearm from defendant L. KELLY to give to
another member of their organization whom defendant D. HERNANDEZ
should have accompany her for her protection while selling drugs, and
defendant D, HERNANDEZ said that she had “permission” to sell drugs.

Overt Act No. 172: On September 25, 2013, by telephone using

 

coded language, defendant D. HERNANDEZ told defendant P. SORIANO that
defendant D. HERNANDEZ had advised another Wilmas gang member that he
was “stupid for being over there with the n*ggers” without carrying a

weapon.

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Overt Act No. 173: On or about September 26, 2013, by telephone

 

using coded language, an unindicted co-conspirator told defendant A.
SORIANO that the unindicted co-conspirator had paid defendant lL.
KELLY $400 to clear defendant A. SORIANO’s “debt” for the
methamphetamine seized on September 19, 2013.

Overt Act No. 174: On or about September 26, 20138, by telephone

 

using coded language, defendant D. HERNANDEZ advised defendant A.
SORIANO that she was using a new source of supply of methamphetamine,
and that her customers preferred it to the methamphetamine supplied
by defendant L. KELLY, and were willing to pay more money for it.

Overt Act No. 175: On or about September 26, 2013, by telephone

 

using coded language, defendant P. SORIANO advised defendant A,
SORIANO that P. SORIANO had paid defendant L. KELLY the money that
defendant A. SORIANO owed to defendant L. KELLY for the
methamphetamine seized on September 19, 2013, which had been provided
by defendant L. KELLY. .

Overt Act No. 176: On October 24, 2013, by text message using

 

coded language, Mexican Mafia Member #3 advised defendant ORTIGOZA
that an unidentified co-conspirator had delivered money for defendant

ORTIGOZA.

Overt Act No. 177: On October 24, 2013, Mexican Mafia Member #3

 

met with a confidential government informant at the El Compadre
restaurant on Sunset Boulevard in Los Angeles, California and told
the informant that one of his co-conspirators had not been collecting
“taxes” properly in the areas controlled by Mexican Mafia Member #3,

;

that “Capone” and another Mexican Mafia representatives had been more

effective in collecting “taxes” in those areas, but that “Capone” had

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been arrested and charged with murder; and Mexican Mafia Member #3
stated that he wanted to take over the harbor area.

Overt Act No. 178: On October 25, 2013, by text message using

 

coded language, Mexican Mafia Member #3 asked defendant ORTIGOZA to
identify the person who had been discussing Mexican Mafia Member #3 |
with another Mexican Mafia member.

Overt Act No. 179: On October 25, 2013, by text message using

 

coded language, a Wilmas gang member agreed to supply Mexican Mafia
Member #3 with six ounces of methamphetamine.

Overt Act No. 180: On October 26, 2013, by text message using

 

coded language, a Wilmas gang member informed Mexican Mafia Member #3
that the six ounces of methamphetamine that he had ordered was ready
for pick-up. _

Overt Act No. 181: On October 26, 2013, by telephone using

 

coded language, a Wilmas gang member asked Mexican Mafia Member #3
how he wanted the six ounces of methamphetamine to be packaged, and
Mexican Mafia Member #3’ asked for it to be separated into two three- °

‘ounce packages.

Overt Act No. 182: On October 27, 2013, by telephone using

 

coded language, defendant ORTIGOZA told Mexican Mafia Member #3 that
he had not yet collected “taxes” from defendant SANCHEZ but was still
willing to provide defendant SANCHEZ with narcotics, if Mexican Mafia
Member #3 approved; and Mexican Mafia Member #3 agreed and told
defendant ORTIGOZA that he was concerned about another Mexican Mafia
member receiving negative information .from his wife, and Mexican
Mafia Member #3 also said, “We gotta get our motherf*cking money.”

Overt Act No. 183: On October 28, 2013, by telephone using

 

coded language, an incarcerated Wilmas gang member called defendant

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ORTIGOZA from a Los Angeles County jail and told defendant ORTIGOZA
that “they” had money for defendant ORTIGOZA, and defendant ORTIGOZA
told the gang member that a “green” had been ordered and another
inmate was to be “stomped out.”

Overt Act No. 184: On October 28, 2013, by telephone using

 

coded language, defendant ORTIGOZA directed an incarcerated Wilmas
gang member to “get” an additional inmate as well and that the

“greenlight” would be authorized by Mexican Mafia Member #3.

 

Overt Act No. 185: On October 28, 2013, by telephone using
coded language, Mexican Mafia Member #3 told an unindicted co-
conspirator that he and defendant ORTIGOZA had provided one ounce of
narcotics to another unindicted co-conspirator who wanted to “work,”
but the payment had not been delivered.

Overt Act No. 186: On October 28, 2013, by text message using

 

coded language, defendant ORTIGOZA received a text message from
defendant SANCHEZ which stated that defendant SANCHEZ would be late
with the payment to defendant ORTIGOZA and Mexican Mafia Member #3,
but would have payment with the monthly “tax” payment.

Overt Act No. 187: On October 28, 2013, by text message using

 

coded language, Mexican Mafia Member #3 told defendant ORTIGOZA that
the persons who owed taxes were getting “out of line with excuses”

and needed a “wake up call.”

Overt Act No. 188: On October 29, 2013, by telephone using

 

coded language, Mexican Mafia Member #3 arranged to meet with
defendant: ORTIGOZA and another Wilmas gang leader at the Casa Perez
restaurant in Long Beach, California.

Overt Act .No. 189: On October 31, 2013, by text message using

 

coded language, Mexican Mafia Member #3 told defendant ORTIGOZA that

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an unidentified female had narcotics for them to retrieve, and
defendant ORTIGOZA told Mexican Mafia Member #3 that defendant
SANCHEZ was attempting to collect tax and narcotics proceeds for
them.

Overt Act No. 190: On November 1, 2013, by text message using

 

coded language, Mexican Mafia Member #3 told defendant ORTIGOZA that
he was expecting a telephone call from another Mexican Mafia member.

Overt Act No. 191: On November 3, 2013, by telephone using

 

coded Language r defendant ORTIGOZA told Mexican Mafia Member #3 that
defendant S. RODRIGUEZ would cover debts owed by defendant SANCHEZ
after defendant SANCHEZ’ arrest.

Overt Act No. 192: On November 4, 2013, by telephone using

 

coded language, Mexican Mafia member #3 told defendant ORTIGOZA that
Mexican Mafia Member #3 would deliver five ounces of methamphetamine
to defendant ORTIGOZA’s niece for defendant ORTIGOZA to distribute.

Overt Act No. 193: On November 4, 2013, by text message using

 

coded language, defendant ORTIGOZA advised Mexican Mafia Member #3
that defendant S$. RODRIGUEZ would pay “bits at a time” for money owed

by defendant SANCHEZ.

Overt Act No. 194: On November 4, 2013, by telephone using

 

/coded language, a Wilmas gang leader told Mexican Mafia Member #3

that the leader's brother was incarcerated with a Mexican Mafia
member and wanted to send “regards” to Mexican Mafia Member #3, and
the Wilmas gang leader also told Mexican Mafia Member #3 that “Live
Scan” was a program used by federal law enforcement, but that it had
not been used on him when he was “out on the streets.”

Overt Act No. 195: On November 7, 2013, by telephone using

 

coded language, Mexican Mafia Member #3 told a Wilmas gang leader

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that Mexican Mafia Member #3 had been attempting to meet with
defendants L. KELLY and ORTIGOZA and another unindicted Wilmas gang
member, and the Wilmas gang leader told Mexican Mafia Member #3 that
he was going to make a delivery and that his cousin had been ,

sentenced to 115 months to life in prison.

 

Overt Act No. 196: On November 7, 2013, by telephone using
coded language, Mexican Mafia Member #3 told a Wilmas gang leader
‘that he had met with another unindicted Wilmas gang member, and the
Wilmas gang leader told Mexican Mafia Member #3 that he had
identified a law enforcement surveillance camera in the area and

discussed plans for a meeting that night.

 

Overt Act No. 197: On November 9, 2013, by text message using
coded language, defendant ORTIGOZA advised Mexican Mafia Member #3
that defendant .ORTIGOZA had been collecting money and defendant
SANCHEZ’ girlfriend had become frightened, started carrying a gun,
and moved to Norwalk.

Overt Act No. 198: On November 18, 2013, by telephone using

 

coded language, Mexican Mafia Member #3 ordered six ounces of
methamphetamine from another Wilmas gang member.

Overt Act No. 199: On November 18, 2013, by telephone using

 

coded language, Mexican Mafia Member #3 informed a Wilmas gang member
that he was on the street in front of his residence, waiting to pick
up the six ounces of methamphetamine.

Overt Act No. 200: On November 19, 2013, by telephone using

 

coded language, a Wilmas gang leader told Mexican Mafia Member #3
that he had obtained his license.and could do his “rounds” for
Mexican Mafia Member #3 and that the Wilmas gang leader and another
unindicted co-conspirator had taxes to deliver. |

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Overt Act No. 201: On November 22, 2013, by telephone using

 

coded language, Mexican Mafia Member #3 told defendant ORTIGOZA that
Mexican Mafia Member #3’s Probation Officer had just left and that
defendant S. RODRIGUEZ had delivered money for defendant SANCHEZ, but
that defendant SANCHEZ still owed money to another Wilmas gang
leader; and defendant ORTIGOZA told Mexican Mafia Member #3 that he
had told defendant S. RODRIGUEZ that she still owed $500, but that he
was going to tell her that she actually owed $600.

Overt Act No. 202: On November 22, 2013, by telephone using

 

coded language, a Wilmas gang leader told Mexican Mafia Member #3
that he had money to deliver to Mexican Mafia Member #3, and Mexican
Mafia Member #3 told him that Mexican Mafia Member #3 had spoken to
an-unindicted “Rast-Side” gang member about a dispute within the
organization and asked if the Wilmas gang leader wanted to “get at” a
Mexican Mafia member in order to address the conflict.

Overt Act No. 203: On December 6, 2013, defendant GARCIA

 

possessed methamphetamine and a glass pipe on Avalon Boulevard in

Carson, California.

Overt Act No. 204: On February 10, 2014, defendant TAVAREZ sold

 

55.7 grams of methamphetamine to a confidential government informant
at an automotive shop in Wilmington, California.

Overt Act No. 205: On March 12, 2014, by telephone using coded

 

language, defendant J. LOPEZ told a confidential government informant
that defendant J. LOPEZ used two different telephones in order to
avoid getting “caught” by law enforcement, and defendant J. LOPEZ
asked to meet with the informant to discuss the collection of “taxes”

for the Mexican Mafia.

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Overt Act No. 206: On March 13, 2014, by telephone using text

 

messages, defendant J. LOPEZ arranged to meet with a confidential
government informant at the Coco’s restaurant on Lake Avenue in
Pasadena, California, in order to discuss arrangements for the
collection of “taxes” owed to the Mexican Mafia.

Overt Act No. 207: On March 17, 2014, defendant J. LOPEZ met

 

with a confidential government informant at the Coco’s restaurant on
Lake Avenue, in Pasadena, California and told the informant that
defendant J. LOPEZ was from “Eastside Wilmas” and loyal to Mexican
Mafia Member #1, that defendant J. LOPEZ-would not let defendant
Mexican Mafia Member #3 seize control over his neighborhood; and
defendant J. LOPEZ delivered approximately $2,300.00, which defendant
J. LOPEZ said he had collected from Long Beach, Wilmington, Torrance,
Carson, and Pasadena, and stated that he planned to arrange for a
Post Office Box to collect funds for incarcerated Mexican Mafia
members and would prepare a list of his collections to give to the

informant.

 

Overt Act No. 208: On April 14, 2014, Mexican Mafia Member #1
sent magazines, letters and a postcard which contained hidden and .
coded “kites” to “Jennifer Leslie,” at a Post Office Box on McBean
Parkway in Santa Clarita, California.

Overt Act No. 209: On April 29, 2014, defendant J. LOPEZ used

 

the name “Samantha” and sent money orders addressed to “Jennifer
Leslie,” at a Post Office Box on McBean Parkway in Santa Clarita,
California, as “tax” payments, for Mexican Mafia Member #1.

Overt Act No. 210: On May 26, 2014, defendant GARCIA possessed

 

methamphetamine, which she had hidden in her vagina, while driving a
stolen car in Wilmington, California.

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Overt Act No. 211: On May 29, 2014, defendant J. LOPEZ

 

delivered “tax” payments for Mexican Mafia Member #1 by addressing
the payments to “Jennifer Leslie” at a Post Office Box on McBean
Parkway in Santa Clarita, California.

Overt Act No. 212: On June 5, 2014, defendant GARCIA possessed

 

approximately 2 grams of methamphetamine, which she had hidden in her
bra, at a hotel in Wilmington, California.

Overt Act No. 213: On December 5, 2015, defendant GARCIA

 

possessed methamphetamine, which she had hidden in her bra, while
driving a Dodge Magnum in Wilmington, California.

Overt Act No. 214: On July 11, 2016, Mexican Mafia Member #3

 

told incarcerated gang members that he had been informed by another >
Wilmas gang leader and had “read the paperwork” on an inmate who had
provided information to law enforcement concerning a Mexican Mafia
associate which appeared in an‘indictment and that Mexican Mafia
Membex #3 was “trying to take over Long Beach,” so Mexican Mafia
Member #3 directed the incarcerated gang members to beat the inmate
and “fine” him $500 to teach the inmate to “keep his f*cking mouth
shut”; and one of the incarcerated inmates told Mexican Mafia Member

#3 that a Wilmas gang leader had previously given “a verbal”

authorization to attack the suspected informant.

The Grand Jury Further Alleges That:

1.  -Beginning on a date unknown and continuing to on or about
October 27, 2016, in Los Angeles County, within the Central District
of California, and elsewhere, defendants L. KELLY, A. SORIANO,
DELGADO, J. LOPEZ, ORTIGOZA,, CALDERON, S. RODRIGUEZ, D. HERNANDEZ, P.
SORIANO, WOODRUFF, BECERRA, TAVAREZ, E. GUERRERO, GARCIA, and

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SANCHEZ, and others known and unknown to the Grand Jury, knowingly
and intentionally conspired and agreed with each other to distribute
at least 50 grams of methamphetamine, a Schedule II controlled
substance, in violation of Title 21, United States Code, Sections
846, 841(a)(1), and 841(b) (1) (A).

2. On or about January 21, 2013, in Los Angeles County, within
the Central District of California, defendant DELGADO did unlawfully,
willfully, deliberately and with premeditation kill with malice —
aforethought E.T., in violation of California Penal Code Sections 31,
187, and 189. | | |

3, On or about September 14, 2013, in Los Angeles County,
within the Central District of California, defendants L. KELLY, A.
SORIANO, and DELGADO unlawfully, willfully, deliberately and with
premeditation conspired to kill with malice aforethought S.M., in
violation of California Penal Code Sections 31, 182, 187, and 189.

A. On or about September 15, 2013, in Los Angeles County,
within the Central District of California, defendant A. SORIANO
unlawfully attempted to kill with malice aforethought S.M., in

violation of California Penal Code Sections 21a, 31, 187, 189, and

664,

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COUNT TWO
[18 U.S.C. § 1962 (c)]
1. Paragraphs One through Twenty of the Introductory
Allegations of this First Superseding Indictment are re-alleged and
incorporated by reference as though fully set forth herein.

A. THE RACKETEBRING OFFENSE

 

2. Beginning on a date unknown and continuing to on or about
October 27, 2016, in Los Angeles County, within the Central District
of California, and elsewhere, defendants L. KELLY, A. SORIANO,
DELGADO, J. LOPEZ, D. .HERNANDEZ, WOODRUFF, BECERRA, TAVAREZ, and E.
GUERRERO, and others known and unknown to the Grand Jury, being
persons employed by and associated with the Wilmas criminal
enterprise, which was an enterprise engaged in, and the activities of
which affected, interstate and foreign commerce, unlawfully and
knowingly conducted and participated, directly and indirectly, in the
conduct of the affairs of that enterprise, through a pattern of
racketeering activity, that is, through the commission of the acts
set forth below.

B, THE PATTERN OF RACKETEERING ACTIVITY

3. The pattern of racketeering activity, as defined in Title

18, United States Code, Sections 1961(1) and 1961(5), consisted of

the following acts:

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Racketeering Act One

 

 

 

Conspiracy to Distribute Narcotics

4, Beginning on a date unknown to the Grand Jury and
continuing to on or about October 27, 2016, in Los Angeles County,
within the Central District of California, and elsewhere, defendants
L. KELLY, A. SORTANO, DELGADO, J. LOPEZ, D. HERNANDEZ, WOODRUFF,
BECERRA, TAVAREZ, and E. GUERRERO, and others, known and unknown to
the Grand Jury, conspired and agreed with each other to knowingly and
intentionally commit the following offenses: to distribute at least
50 grams of actual methamphetamine, a Schedule II controlled
substance, in violation of Title 21, United States Code, Section

841 (a) (1) and 841(b) (1) (A) (viii); and to distribute at least 5 grams

of actual methamphetamine, a Schedule II controlled substance, in

violation of Title 21, United States code, Section 841(a) (1) and
841 (b) (1) (B) (viii).

Racketeering Act Two

 

Extortion

5. On or about November 3, 2007, in Los Angeles County, within
the Central District of California, defendant L. KELLY knowingly and
intentionally attempted to extort money from others by means of force
or threat of force, in vidlation of California Penal Code Sections

2la, 518, 519, 520, and 664.

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Racketeering Act Three

 

 

Distribution of Methamphetamine

6. On or about June 6, 2012, in Los Angeles County, within the
Central District of California, defendant BECERRA knowingly and
intentionally distributed methamphetamine, a Schedule II controlled
substance, in violation of Title 21, United States Code, Section
841 (a) (1). |

Racketeering Act Four

 

Distribution of Methamphetamine

7. | On or about July 3, 2012, in Los Angeles County, within the
Central District of California, defendant BECERRA knowingly and
intentionally distributed methamphetamine, a Schedule II controlled
substance, in violation of Title 21, United States Code, Section
841 (a) (1).

Racketeering Act Five

 

Distribution of Methamphetamine

8. On or about September 26, 2012, in Los Angeles County,
within the Central District of California, defendant E. GUERRERO
knowingly and intentionally distributed methamphetamine, a Schedule

It controlled substance, in violation of Title 21, United States

Code, Section 841 (a) (1).

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Racketeering Act Six

 

Murder

9. On or about January 21, 2013, in Los Angeles County, within
the Central District of California, defendant DELGADO willfully,
deliberately, and with premeditation unlawfully killed with malice
aforethought E.T., in violation of California Penal Code Sections 31,
187, and 189. |

Racketeering Act Seven

 

Distribution of Methamphetamine

10. On or about February 12, 2013, in Los Angeles County,
within the Central District of California, defendant J. LOPEZ
knowingly and intentionally distributed methamphetamine, a Schedule
II controlled substance, in violation of Title 21, United States
Code, Section 841(a) (1).

Racketeering Act Bight

 

Distribution of Methamphetamine

11. On or about March 12, 2013, in Los Angeles County, within
‘the Central District of California, defendant J. LOPEZ knowingly and
intentionally distributed methamphetamine, a Schedule II controlled

substance, in violation of Title 21, United States Code, Section

B41 (a) (1).

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Racketeering Act Nine

 

Distribution of Methamphetamine

12. On or about April 15, 2013, in Los Angeles County, within
the Central District of California, defendant J. LOPEZ knowingly and
intentionally distributed methamphetamine, a Schedule II controlled
substance, in violation of Title 21, United States Code, Section
g41(a) (1).

Racketeering Act Ten

 

Conspiracy and Attempt to Commit Murder

13. Defendants committed the following acts, any one of which
constitutes Racketeering Act Ten:

a. Between on or about September 14, 2013 and September

15, 2013, in Los Angeles County, within the Central District of
California, defendants A. SORIANO and DELGADO unlawfully, willfully,
and with premeditation conspired to kill with malice aforethought
S.M., in violation of California Penal Code Sections 31, 182, i187,
and 189.

, b. On or about September 15, 2013, in Los Angeles County,
within the Central District of California, defendant A. SORLANO
willfully, deliberately, and with premeditation attempted to kilt
with malice aforethought S.M., in violation of California Penal Code

Sections 21a, 31, 182, 187, 189, and 664.

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Racketeering Act Eleven

 

 

Witness Tampering

14. On or about September 16, 2013, in Los Angeles county,
within the Central District of California, defendants L. KELLY, A.
SORIANO, and WOODRUFF knowingly attempted to use physical force and
the threat of physical force against a witness with the intent to
influence, delay, and prevent the testimony of the witness in an
official proceeding, and cause the witness to withhold testimony from
an official proceeding, appear as a witness and be absent from an
official proceéding, and otherwise to hinder, delay, and prevent the
communication to a. law enforcement officer and judge of the United
States of information relating to the commission and possible
commission of a federal offense, in violation of Title 18, United
States Code, Section 1512 (a) (2). |

Racketeering Act Twelve

 

Possession with Intent to Distribute Methamphetamine

15. On or about September 19, 2013, in Los Angeles County,
within the Central District of California, defendants A, SORIANO and
D. HERNANDEZ knowingly and intentionally possessed with the intent to.
distribute methamphetamine, a Schedule II controlled substance, in

violation of Title 21, United States Code, Section 841 (a) (1).

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X

Racketeering Act Thirteen

 

Distribution of Methamphetamine

 

16. On or about February 10, 2014, in Los Angeles County,
within the Central District of California, defendant. TAVAREZ
knowingly and intentionally distributed methamphetamine, a Schedule

II controlled substance, in violation of Title 21, United States

Code, Section 841(a) (1).

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COUNT THREE
[18 U.S.C. § 1959(a) (1)]

1. At all times relevant to this First Superseding Indictment,
the Wilmas gang, including its “Eastside” and “Westside” members and
associates, as described more particularly in paragraphs One through
Twenty of the Introductory Allegations, which paragraphs are
incorporated and re-alleged herein as if set forth in full,
constituted an enterprise as that term is defined in Title 18, United
States Code, Section 1959 (b) (2), that is a group of individuals
associated in fact, which was engaged in, and the activities of which
affected, interstate and foreign commerce.

2. At all times relevant to this First Superseding Indictment,
the Wilmas gang, including through its “Eastside” and “Westside”
members and associates, engaged in racketeering activity, as defined
in Title 18, United States Code, Sections 1959 (b) (1) and 1961(1),
that is, acts involving murder, robbery, and extortion, in violation
of the California Penal Code, and the distribution of controlled
substances, including methamphetamine, in violation of Title 21,
United States code, Sections 841(a) (1), 843(b), and 846. .

3. On or about January 21, 2013, in Los Angeles County, within
the Central District of California, and elsewhere, for the purpose of
maintaining and increasing position in thé Wilmas gang, an enterprise
engaged in racketeering: activity, defendant DELGADO unlawfully and
knowingly murdered E.T., in violation of California Penal’ Code

Sections 31, 187, and 189.

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COUNT FOUR
[18 U.S.C. § 1959(a) (5) ]

1. Paragraphs One through Twenty of the Introductory
Allegations of this First Superseding Indictment and Paragraphs One
and Two of Count Three are hereby incorporated and re-alleged herein
as if set forth in full.

2. On or about September 14 and September 15, 2013, in Los
Angeles County, within the Central District of California, and
elsewhere, for the purpose of maintaining and increasing position in
the Wilmas gang, an enterprise engaged in racketeering activity,
defendants A. SORIANO and DELGADO unlawfully and knowingly conspired
to murder S.M., in violation of California Penal Code, Sections 31,

182, 187, and 189.

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COUNT FIVE
[21 U.S.C. §§ 846, 841(a) (1), (6) (1) (A), (b) (1) (B)]
1. Paragraphs One through Twenty of the Introductory
Allegations of this First superseding Indictment are re-alleged and
incorporated herein by reference as though fully set forth herein.

A. OBJECTS OF THE CONSPIRACY

 

2. Beginning on a date unknown but no later than on or about
August 20, 2012, and continuing to on or about October 27, 2016, in
Los Angeles County, within the Central District of California, and -
elsewhere, defendants L. KELLY; A. SORIANO;  ADAN RODRIGUEZ, also
known as (“aka”) “Grizzly” (“A. RODRIGUEZ”); DELGADO; JU. LOPEG;
FRANCISCO HERNANDEZ, aka “Pancho” (“F. HERNANDEZ”) ; ORTIGOZA; ERYANNA
NEGRETE, aka “Baby Gangsta,” aka “Baby G” (*“NEGRETE”); OTONIEL
GUERRERO, aka “Twin” (“O. GUERRERO”); RAUL CORNEJO (“CORNEJO”) ;
CALDERON; S. RODRIGUEZ; JOSE HERNANDEZ AGUIAR, aka “Big Joe” |
(“AGUIAR”); D. HERNANDEZ; P. SORIANO; WOODRUFF; BECERRA; JAVIER
REYNOSO, aka “Berto” (“REYNOSO”) ; GUADALUPE REYES, aka “Oso”
(“REYES”); JAVIER FRAUSTO, aka “Candyman” (“JAVIER FRAUSTO”) ; MIGUEL
MACIEL, aka “Goat” (“MACIEL”); JESSICA FRAUSTO, aka “Lil Jess”
(“JESSICA FRAUSTO”) ; TAVAREZ ; E. GUERRERO; JUAN CARLOS HERNANDEZ, aka |
“Negro Trece” (“UJ.C. HERNANDEZ”); GARCIA; GILBERT LIZALDE, aka
“Sniper” (“LIZALDE”) ; NELSON MARTINEZ, aka “Lil Torch” (“MARTINEZ”) ;
and SANCHEZ, and others known and unknown to the Grand Jury,
conspired and agreed with each other to knowingly and intentionally
commit the following offenses:

‘a. . To possess with intent to distribute and distribute at

least 50 grams of methamphetamine, a Schedule II controlled

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substance, in violation of Title 21, United States Code, Sections
841(a) (1) and 841(b) (1) (A) (viii); and_

b. To possess with intent to distribute and distribute at
least five grams of methamphetamine, a Schedule II controlled
substance, in violation of Title 21, United States Code, Sections
841(a) (1) and 841(b) (1) (B) (viii).

B.. MEANS BY WHICH THE OBJECTS OF THE CONSPIRACY WERE TO BE
ACCOMPLISHED | ,
3. The objects of the conspiracy were to be accomplished, in
substance, as follows:

a. Leaders of the drug trafficking organization,
including Mexican Mafia Member #1, Mexican Mafia Member #2, Mexican
Mafia Member #3, and defendants L. KELLY, A. SORIANO, A. RODRIGUEZ,
and ORTIGOZA, and others would authorize persons to distribute
narcotics within the territory controlled by the organization.

b. Leaders and members of the drug trafficking
organization, including Mexican Mafia Member #3, defendants L. KmLLY,
A. SORIANO, DELGADO, LOPEZ, F. HERNANDEZ, NEGRETE, O. GUERRERO,
CORNEJO, S. RODRIGUEZ, AGUIAR, D. HERNANDEZ, WOODRUFF, BECERRA,
REYNOSO, REYES, JAVIER FRAUSTO, MACIEL, JESSICA FRAUSTO, TAVAREZ, E.
GUERRERO, J. C. HERNANDEZ, GARCIA, LIZALDE, MARTINEZ, and SANCHEZ,
and others, would obtain and distribute methamphetamine within the
territory controlled by the organization and attempt to expand the
territory controlled by the organization and the Mexican Mafia.

c. - Leaders of the organization, including Mexican Mafia
Member #3 and defendants L. KELLY, A. SORIANO, J. LOPEZ, A.
RODRIGUEZ, and ORTIGOZA, would monitor the distribution activity of
the members and associates of the organization, collect “taxes,”

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“fines,” and narcotics debts owed to the organization, and enforce
the rules and authority of the organization, including discipline
against non-compliant members, encroaching rivals, and persons
suspected of cooperating with or providing information to law
enforcement or the courts about the crimes of the organization.

d. Leaders of the organization, including Mexican Mafia
Member #3, defendants L. KELLY, SORIANO, A. RODRIGUEZ, and ORTIGOZA
would enforce the authority of the organization, with the
participation of members including DELGADO, J. LOPEZ, WOODRUFF,
REYNOSO, and GARCIA, by threatening and extorting members of the
community, including local businesses, and assaulting and killing
rivals and perceived rivals to the organization.

eC. Leaders of the organization, including Mexican Mafia
Member #3, defendants A. RODRIGUEZ, ORTIGOZA, A. SORIANO, DELGADO,
CALDERON, WOODRUFF, REYNOSO, and GARCIA would also enforce ‘authority
and protect the organization by identifying and alerting members to
the presence of law enforcement in areas the organization might be
observed committing offenses, ordering, communicating, and executing
“greenlight” attacks on witnesses and informarits in order to prevent
them, and intimidate others, from cooperating with law enforcement or
testifying against members of the organization.

f. Members and leaders of the organization, including
defendants L. KELLY, A. SORIANO, 5S. RODRIGUEZ, P. SORTANO, and
TAVAREZ, would also maintain and distribute firearms and ammunition
to be used by members and associates of the organization to promote

and defend its narcotics distribution in areas controlled by the

organization.

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g. Members and leaders would maintain the status of the
organization and its authority to distribute narcotics by collecting
and paying tribute to the Mexican Mafia leadership in the form of
“taxes,” and Mexican Mafia leaders, like Mexican Mafia Member #3,
would, in turn, exercise authority over the organization and
authorize it to distribute narcotics within territory controlled by
the organization.

Cc. OVERT ACTS

4, In furtherance of the conspiracy, and to accomplish the
objects of the conspiracy, on or about ‘the following dates,
defendants L. KELLY, A. SORIANO, A. RODRIGUEZ, DELGADO, J. LOPEZ, EF,
HERNANDEZ, ORTIGOZA, NEGRETE, O. GUERRERO, CORNEJO, CALDERON, S.
RODRIGUEZ, AGUIAR, D. HERNANDEZ, P. SORIANO, WOODRUFF, REYES, JAVIER
FRAUSTO, MACIEL, JESSICA FRAUSTO, TAVAREZ, E. GUERRERO, J. C.
HERNANDEZ, GARCIA, LIZALDE, MARTINEZ, and SANCHEZ, and others, known
and unknown to the Grand Jury, committed various overt acts, within
the Central District of California, and’ elsewhere, including, but not
limited to, the following:

Overt Acts Nos. 1 through 214: Overt Acts numbered 1 through

 

214, set forth in Count One of this First Superseding Indictment are

re-alleged and incorporated herein by reference.

Overt Act No. 215: On August 12, 2012, defendant J.C. HERNANDEZ

 

and an unindicted co-conspirator told a confidential government
informant that defendant J.C. HERNANDEZ purchased 5 pounds of
methamphetamine at a time from suppliers in Nayarit and Jalisco,
Mexico, and defendant J.C. HERNANDEZ agreed to sell methamphetamine

to the informant and directed the informant to refer to the

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methamphetamine as “rabbit food” or “bird feed,” in order to avoid
detection by law enforcement.

Overt Act No. 216: On August 14, 2012, defendant J. C.

 

HERNANDEZ sold 27.3 grams of methamphetamine to a confidential
government informant in the parking lot of a Goodwill store on
Pacific Coast Highway in Wilmington, California.

‘Overt Act No. 217: On August 16, 2012, an unindicted co-

 

conspirator introduced a confidential government informant to
defendant AGUIAR and told the informant that defendant AGUIAR’ always
has methamphetamine, and defendant. AGUIAR told the informant that he
obtained methamphetamine from Mexico; that he did not “cut” it, and
that it “burned” and lasted a long time.

Overt Act No. 218: On August 20 and 21, 2012, by télephone

 

‘using coded language, defendant NEGRETE agreed to sell one ounce of
methamphetamine to a confidential government informant for $650.

Overt Act No. 219: On August 22, 2012, defendant NEGRETE

 

delivered approximately 27.2 grams of methamphetamine to a
confidential government informant at a parking lot on Bay View Avenue
in Wilmington, California.

Overt Act No. 220: On August 29, 2012, by telephone using coded

 

language, defendant NEGRETE agreed to sell two ounces of
methamphetamine to a confidential government informant.

Overt Act No. 221: On August 30, 2012, by telephone using coded

 

language, defendant NEGRETE told a confidential government informant
that defendant NEGRETE had the methamphetamine ready for sale.

Overt Act No. 222: On August 30, 2012, defendant NEGRETE sold

 

approximately 53.4 grams of methamphetamine to a confidential

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government informant for $1,300 in front of a residence on Gulf
Avenue in Wilmington, California.

Overt Act No. 223: On September 11, 2012, by telephone using

 

coded language, defendant AGUIAR arranged to sell two ounces of
methamphetamine to a confidential government informant for $1300.

Overt Act No. 224: On September 12, 2012, defendant AGUIAR sold

 

approximately 55 grams of methamphetamine to a confidential
government informant in the parking lot of a McDonald’s restaurant on
Pacific Coast Highway in Wilmas gang territory.

Overt Act No. 225: On September 19, 2012, by telephone using

 

coded language, defendant NEGRETE agreed to sell two ounces of
methamphetamine to a confidential government informant.

Overt Act No. 226: On September 26, .2012, by telephone using

 

coded language, defendant NEGRETE: used defendant E. GUERRERO’s
telephone to arrange to sell two ounces of methamphetamine to a

confidential government informant.

overt Act No. 227: On September 26, 2012, defendants NEGRETE

 

and E. GUERRERO sold approximately 45.0 grams of methamphetamine to a
confidential government informant for $1,300 at a residence on Bay
View Avenue in Wilmas gang territory.

Overt Act No. 228: On October 17, 2012, by telephone using

 

coded language, defendant AGUIAR arranged to sell two ounces of
methamphetamine to a confidential government informant.

Overt Act No. 229: On October 18, 2012, defendant AGUIAR sold

 

approximately 55.6 grams of methamphetamine to a confidential

government informant.

Overt Act No. 230: On October 30, 2012, by telephone using

 

coded language, defendant NEGRETE told defendant E. GUERRERO that

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defendant A. RODRIGUEZ had called her on behalf of defendant L.
KELLY, demanding payment for methamphetamine that defendant E.
GUERRERO had obtained from defendant L. KELLY before defendant E.
GUERRERO became incarcerated, that defendant NEGRETE would pay $1000
to defendant L. KELLY, then sell narcotics for defendant L. KELLY to
pay the remainder of what defendant E. GUERRERO owed, and defendant
EB. GUERRERO directed defendant NEGRETE to have defendant L. KELLY
deliver “work” to her, rather than going to defendant L. KELLY’s
residence, and agreed to call defendant L. KELLY to arrange for
defendant L. KELLY to supply narcotics to defendant NEGRETE. -

Overt Act No. 231: On October 30, 2012, by telephone using

 

coded language, defendant NEGRETE told defendant EH. GUERRERO that she
had $1,300 to pay defendant L. KELLY.

Overt Act No. 232: On October 30, 2012, by telephone using

 

coded language, defendant E. GUERRERO told defendant L. KELLY that &.
GUERRERO had $1,300 to pay for the methamphetamine he had purchased
from defendant L.. KELLY and that defendant NEGRETE would sell
narcotics for L. KELLY, and defendant L. KELLY told defendant E.
GUERRERO that defendant L. KELLY had directed defendant A. RODRIGUEZ
to collect the payment from defendant NEGRETE.

Overt Act No. 233: On October 30, 2012, by telephone using

 

coded language, defendant NEGRETE told defendant E. GUERRERO that she
had no money and only a half-ounce of methamphetamine, and defendant
E. GUERRERO told defendant NEGRETE to contact defendant L. KELLY to
obtain more methamphetamine.

Overt Act No. 234: On October 31, 2012, by telephone using

 

coded language, defendant HE. GUERRERO told defendant NEGRETE that she
would be arrested if she came to the prison where he was incarcerated

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and that she should get identification for someone who looked like

her.

Overt Act No. 235: On November 2, 2012, by telephone using

 

coded language, defendant NEGRETE agreed to provide methamphetamine
to defendant E. GUERRERO while he was incarcerated.

Overt Act No. 236: On November 4,.2012, by telephone using

 

coded language, defendant NEGRETE told defendant E. GUERRERO that
defendant L. KELLY was not answering her telephone calls, and
defendant E. GUERRERO told defendant NEGRETE how to obtain narcotics
from the source, -

Overt Act No. 237: . On November 4, 2012, by telephone using

 

coded language, defendant NEGRETE told defendant E. GUERRERO that she
would use the identification for G.V. when she brought narcotics to
defendant E. GUERRERO while he was incarcerated.

Overt Act No. 238: On November 7, 2012, by telephone using

 

coded language, defendant NEGRETE told defendant E. GUERRERO that she
had not heard from defendant L. KELLY or another Wilmas gang member,
but that defendant NEGRETE had obtained proceeds from narcotics sales

and “taxes” that had been paid.

 

Overt Act No. 239: On November 10, 2012, defendant NEGRETE used
G.V.'s identification in order to gain access and attempt to deliver
approximately 11.6 grams of methamphetamine to defendant E. GUERRERO
at the Pitchess Detention Center in Castaic, California.

Overt Act No. 240: On November 10, 2012, by telephone using

 

coded language, defendant NEGRETE asked an unindicted co-conspirator
to provide defendant NEGRETE with identifying information for G.V.,
so that defendant NEGRETE could attempt to persuade officers that she
was actually G.V., after defendant NEGRETE was arrested for

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attempting to smuggle methamphetamine to defendant EH. GUERRERO,
inside the Pitchess Detention Center in Castaic, California.

Overt Act No. 241: On November 12, 2012, by telephone using

 

coded language, defendant E. GUERRERO asked an unindicted co-
conspirator to assist in providing bail for defendant NEGRETE after.
her arrest and to assault another person “in the West way.”

Overt Act No. 242: On January 31, 2013, by telephone using

 

coded language, defendant NEGRETE agreed to sell one ounce of
methamphetamine to a confidential government informant.

Overt Act No. 243: On February 25 and 26, 2013, by telephone

 

using coded language, defendant JAVIER FRAUSTO arranged to sell one
ounce of methamphetamine to a confidential government informant for

$725.

Overt Act No. 244: On February 26, 2013, defendant JAVIER

 

FRAUSTO delivered approximately 27.5 grams of methamphetamine to a
confidential government informant in the parking lot of Taco Sinaloa
restaurant on Anaheim Street in Wilmington, California, while
accompanied by three minor children.

Overt Act No. 245: On March 5, 2013, defendant REYNOSO demanded

 

$4,500 to remove a “green light” imposed by Mexican’ Mafia members
against a confidential government informant.

Overt Act No. 246: On March 27, 2013, defendant REYNOSO

 

collected $4,000 from a confidential government informant, which
defendant REYNOSO had demanded as payment to remove a “green light”
threat to kill another government informant.

Overt Act No. 247: On April 29, 2013, defendant REYNOSO

 

demanded that a confidential government informant pay defendant

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REYNOSO an additional $4,000 to remove a “green Light” order against
the informant.

Overt Act No. 248: On May 1, 2013, defendant O. GUERRERO

 

attempted to discard approximately 1.35 grams of methamphetamine and
a glass pipe as he fled from law enforcement officers in Wilmington,
California.

. Overt Act No. 249: On May 16, 2013, defendant JESSICA FRAUSTO

 

arranged to sell two ounces of methamphetamine to a confidential
government informant for $1,300.

Overt Act No. 250: On May 16, 2013, defendants MACIEL and

 

JESSICA FRAUSTO delivered approximately 55.1 grams of methamphetamine
to a confidential government informant for $1,500, at a parking lot
in Wilmington, California.

Overt Act No. 251: On June 4, 2013, by telephone using coded

 

language, defendant J. LOPEZ told defendant CORNEJO that there had
not been any complaints about the quality of methamphetamine
defendant CORNEJO had provided.

Overt Act No. 252: On June 7, 2013, by text message using coded

 

language, defendant MARTINEZ advised defendant J. LOPEZ. that
defendant MARTINEZ had $200 to pay for one half-ounce of
methamphetamine and wanted to purchase a full ounce of

methamphetamine from J. LOPEZ that day.

Overt Act’ No. 253: On June 8, 2013, by text message using coded

 

language, defendant CORNEJO arranged to deliver methamphetamine to

defendant J. LOPEZ.

Overt Act No. 254: On June 10, 2013, by,text messages using ..

 

coded language, defendant MARTINEZ arranged to purchase one ounce of
methamphetamine from defendant J, LOPEZ for $400, and defendant J.

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LOPEZ told defendant MARTINEZ to be careful when coming to defendant

J. LOPEZ’ residence.

Overt Act No. 255: On June 11, 2013, defendant J.C. HERNANDEZ

 

sold approximately 56.3 grams of methamphetamine to a confidential
government informant for $1,500 in a parking lot in Wilmington,
California.

Overt Act No. 256: On June 12, 2013, by text messages using

 

coded language, defendant SANCHEZ told defendant J., LOPEZ that
defendant SANCHEZ had $250 in drug proceeds for defendant J. LOPEZ.

Overt Act No..257: On June 13, 2013, by telephone using coded

 

language, defendant F. HERNANDEZ told defendant J. LOPEZ that drug
sales were slow but that defendant F: HERNANDEZ had sold almost all
of the drugs in his possession and had at least $1,000 in drug
proceeds that he would deliver to defendant J. LOPEZ later that day.

overt Act No. 258: On June 15, 2013, by telephone using coded

 

language, defendant F. HERNANDEZ told defendant J. LOPEZ that
defendant F. HERNANDEZ had drug proceeds to deliver to defendant J.
LOPEZ, and defendants J. LOPEZ and F. HERNANDEZ discussed the need to
avoid detection by law enforcement.

Overt Act No. 259: On June 16, 2013, by telephone using coded

 

language, defendant J. LOPEZ asked defendant CORNEJO to deliver

methamphetamine to J. LOPEZ’ residence.

Overt Act No. 260: On June 16, 2013, defendant REYNOSO

 

possessed a Smith and Wesson _38 caliber revolver and 164 rounds of
ammunition and fired one round into a house on Cedar Street in

Bellflower, California.

Overt Act No. 261: On June 18, 2013, by telephone using coded

 

language, defendant F. HERNANDEZ told defendant J. LOPEZ that

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defendant F. HERNANDEZ had needed to dispose of one-and-a-half ounces
of methamphetamine to avoid being caught by law enforcement.

Overt Act No. 262: On June 18, 2013, by telephone using coded

 

language, defendant JESSICA FRAUSTO asked defendant J. LOPEZ if
defendant J. LOPEZ had methamphetamine available, and defendant J.
LOPEZ told defendant JESSICA FRAUSTO to come to J. LOPEZ’ residence,
because he did not want to discuss narcotics sales over the
telephone.

Overt Act No. 263: On June 19, 2013, by telephone using coded

 

language, defendant J. LOPEZ agreed to deliver methamphetamine to

defendant JESSICA FRAUSTO- at defendant J. LOPEZ’ residence on Flint

Street in Wilmington, California.

Overt Act No. 264: On June 19, 2013, defendant JESSICA FRAUSTO

 

drove to defendant J. LOPEZ’ residence and obtained methamphetamine

from defendant J. LOPEZ.

Overt Act No. 265: On June 19, 2013, defendant JESSICA FRAUSTO

 

sold approximately 56.3 grams of methamphetamine to a confidential
government informant for $1,650, at a parking lot in Carson,

California.

Overt Act No. 266: On June 19, 2013, by telephone using coded

 

language, defendant JESSICA FRAUSTO arranged to deliver proceeds from

her recent methamphetamine sale to defendant J. LOPEZ at his

residence.

Overt Act No. 267: On June 19, 2013, by text message using

 

coded language, defendant J. LOPEZ told defendant F. HERNANDEZ that
an unidentified co-conspirator was collecting narcotics proceeds and

that defendant F. HERNANDEZ should also be collecting proceeds.

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Overt Act No.- 268: On June 19, 2013, by text message using

 

coded language, defendant F. HERNANDEZ told defendant J. LOPEZ that
defendant F, HERNANDEZ had $600 and approximately 23 grams of
methamphetamine remaining.

Overt Act No. 269: On June 20, 2013, by telephone using coded

 

language, defendant MACIEL told defendant J. LOPEZ to be careful,

because there was a heavy police presence in the neighborhood.

 

Overt Act No. 270: On June 20, 2013, by telephone using coded
language, defendant F. HERNANDEZ asked defendant J. LOPEZ to “front”
one ounce of methamphetamine, and defendant J. LOPEZ told defendant

F. HERNANDEZ that they would discuss it in person.

 

Overt Act No. 271: on June 22, 2013, by telephone using coded
language, defendant CORNEJO told defendant J. LOPEZ that defendant
CORNEJO had only four ounces of methamphetamine at that time, but
that defendant CORNEJO was expecting his suppliers to deliver
additional methamphetamine.

Overt Act No. 272: On June 24, 2013, by text message using

 

coded language, defendant MARTINEZ asked defendant J. LOPEZ to

provide one half-ounce of methamphetamine for defendant MARTINEZ.

 

Overt Act No. 273: On June 25, 2013, by text messages using
coded language, defendant MARTINEZ asked defendant J. LOPEZ if
defendant J. LOPEZ had methamphetamine available, and defendant J.
LOPEZ told defendant MARTINEZ to come to defendant J. LOPEZ’

residence.

Overt Act No. 274: On dune 25, 2013, defendant AGUIAR sold

 

approximately 54.9 grams of methamphetamine to a confidential
government informant, at a location next to Banning High School in
Wilmington, California and while accompanied by a young child.

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Overt Act No. 275: On June 26, 2013, by text messages using

 

coded language, defendant J. LOPEZ agreed to sell one guarter-ounce
of methamphetamine to defendant MARTINEZ for $110.

Overt Act No. 276: On July 2, 2013, defendants F. HERNANDEZ and

 

O. GUERRERO sold approximately 109.7 grams of methamphetamine to a
confidential. government informant for $2,000, ata parking lot in
Wilmas gang territory.

Overt Act No. 277: On July 3, 2013, by telephone using coded

 

language, defendant F. HERNANDEZ told defendant J. LOPEZ that
defendant BF, HERNANDEZ still had “dope,” and defendant J. LOPEZ
admonished defendant F. HERNANDEZ to “say it a little louder on the
mother*cking phone, you dumb mother*cker!” |

Overt Act No. 278: On July 4, 2013, by text message using coded

 

language, defendant F. HERNANDEZ told defendant J. LOPEZ that the
most recent batch of methamphetamine that defendant J. LOPEZ had
provided was 60 grams “short” from the agreed-upon amount.

Overt Act No. 279: On July 9, 2013, by telephone using coded

 

language, defendant F. HERNANDEZ told defendant J, LOPEZ that
defendant A. .SORIANO was attempting to “tax” defendant F. HERNANDEZ,
and that defendant L. KELLY wanted to meet in person with defendant
F. HERNANDEZ to collect the “tax” payment.

Overt Act No. 280: On July 9, 2013, by telephone using coded

 

language, defendant F. HERNANDEZ told defendant J. LOPEZ that
defendant L. KELLY had called defendant F. HERNANDEZ to “tax”
defendant F. HERNANDEZ, and defendant F. HERNANDEZ complained that
defendant J. LOPEZ was not “looking out” for him.

Overt Act No. 281: On July.9, 2013, by telephone using coded

 

language, defendant F. HERNANDEZ agreed to sell four ounces of

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methamphetamine to a confidential government informant in exchange
for $2,000, and defendant F. HERNANDEZ told the confidential
government informant that defendant NEGRETE would deliver the
methamphetamine.

Overt Act No. 282: On July 9, 2013, defendants F. HERNANDEZ and

 

NEGRETE delivered approximately 111.2 grams of methamphetamine to a
confidential government informant in exchange for $2,000, at a

parking lot in Wilmington, California.

 

Overt Act No. 283: On July 11, 2013, by telephone using coded
language, defendants J. LOPEZ and F, HERNANDEZ discussed several .
individuals who owed them money for drug debts, including defendant
SANCHEZ, and how they should collect the money.

Overt Act No. 284: On July 13, 2013, by text messages using

 

coded language, defendant SANCHEZ asked defendant J. LOPEZ to call
him as soon as possible, because there were three police vehicles ©
parked at defendant F. HERNANDEZ’ residence, and defendant J. LOPEZ
told defendant SANCHEZ not to worry because the police were actually
responding to an incident across the street from defendant F.

HERNANDEZ! residence.

Overt Act No. 285: On July 16, 2013, by telephone using coded

 

language, defendant J. LOPEZ asked defendant CORNEJO if defendant
CORNEJO would meet in order to prepare methamphetamine for

distribution.

Overt Act No. 286: On August 1, 2013, by telephone using coded

 

language, defendant MACIEL agreed to drive with defendant J. LOPEZ to

conduct a methamphetamine transaction.

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Overt Act No. 287: On August 1, 2013, by telephone using coded

 

| Language, defendant NEGRETE arranged to obtain methamphetamine from

defendant J. LOPEZ.

Overt Act No. 288: On August 17, 2013, by text messages and

 

telephone using coded language, defendant J. LOPEZ used defendant F.
HERNANDEZ’ telephone to sell methamphetamine for defendant F.
HERNANDEZ while defendant F. HERNANDEZ was in custody.

Overt Act No. 289: On September 17, 2013, by telephone using

 

coded language, defendant NEGRETE agreed to contact defendant J.
LOPEZ for methamphetamine to provide to defendant A. SORIANO.

Overt Act No. 290: On September 18, 2013, by telephone using

 

coded language; defendant LIZALDE agreed to sell one and one-half
ounces of methamphetamine to defendants A. SORIANO and P. SORIANO.

Overt Act No. 291: On September 18, 2013, by telephone using

 

coded language, defendant NEGRETE asked defendant A. SORIANO if he
still needed one ounce of methamphetamine, and defendant A. SORIANO
said he was willing to pay between $350 and $400 for the
methamphetamine as long as defendant NEGRETE was not obtaining the
methamphetamine from defendant LIZALDE. |

Overt Act No. 292: On September 18, 2013, by telephone using

 

coded language, defendant L. KELLY told defendant LIZALDE that it
would cost $50 a month each for him and a female associate to sell
drugs in the neighborhood and that it would be $100 a month for a
third person to do so, and defendant L. KELLY ordered defendant
LIZALDE to be the one responsible each month for getting the payments

to defendant L. KELLY.

Overt Act No. 293: On September 18, 2013, by telephone using

 

coded language, defendant LIZALDE told defendant A. SORIANO that

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defendant LIZALDE had collected $50 in “taxes” from an associate and
that he would deliver the money to defendant A. SORIANO when
defendant A. SORIANO was in the “hood.”

Overt Act No. 294: On September 18, 2013, by telephone using

 

coded language, defendant A. SORIANO agreed to sell defendant NEGRETE
one half-ounce of methamphetamine for $230.

Overt Act No. 295: On September 20, 2013, by telephone using

 

coded language, defendant MACIEL asked defendant J. LOPEZ if
defendant J. LOPEZ had any methamphetamine for sale, and defendant J.
LOPEZ said he would call defendant MACIEL back in 45 minutes.

Overt Act No. 296: On October 25, 2013, by text message using

 

coded language, defendant REYES agreed to supply Mexican Mafia Member
#3 with six ounces of methamphetamine.

Overt Act No. 297: On October 26, 2013, by text message using

 

coded language, defendant REYES informed Mexican Mafia Member #3 that
the six ounces of methamphetamine that Mexican Mafia Member #3 had

ordered was ready for pick-up.

Overt Act No. 298: On October 26, 2013, by telephone using

 

coded language, defendant REYES asked Mexican Mafia Member #3 how he
wanted the six ounces of methamphetamine to be packaged, and Mexican
Mafia Member #3 asked for it to be separated into two three-ounce

packages. ,

Overt Act No. 299: On October 29, 2013, by telephone using

 

coded language, Mexican Mafia Member #3 arranged to meet with
defendants A. RODRIGUEZ and ORTIGOZA at the Casa Perez restaurant in

Long Beach, California.

Overt. Act No. 300: On November 4, 2013, by telephone using

 

coded language, defendant A. RODRIGUEZ told Mexican Mafia Member #3

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that defendant A. RODRIGUEZ’ brother was incarcerated with a Mexican
Mafia member and wanted to send “regards” to Mexican Mafia Member #3,
and defendant A. RODRIGUEZ also told Mexican Mafia Member. #3 that
“Live Scan” was a program used by federal law enforcement, but that
it had not been used on defendant A. RODRIGUEZ when defendant A.
RODRIGUEZ was “out on the streets.” |

Overt Act No. 301: On November 7, 2013, by telephone using

 

coded language, Mexican Mafia Member #3 told defendant A. RODRIGUEZ
that Mexican Mafia Member #3 had been attempting to meet with
defendants L. KELLY and ORPIGOZA and another unindicted co-
conspirator, and defendant A. RODRIGUEZ told Mexican Mafia Member #3
that he was going to make a delivery and that his cousin had been
sentenced to 115 months to life in prison.

Overt Act No. 302: On November 7, 2013, by telephone using

 

coded language, Mexican Mafia Member #3 told defendant A. RODRIGUEZ
that he had met with another unindicted co- conspirator, and defendant
A. RODRIGUEZ told Mexican Mafia Member #3 that he had identified a
law enforcement surveillance camera in the area and discussed plans
for a meeting that night.

Overt Act No. 303: On November 13, 2013, by telephone using

 

coded language, defendant A. RODRIGUEZ told Mexican Mafia Member #3
that defendant A, RODRIGUEZ was monitoring law enforcement
communications concerning a shooting in San Pedro, and Mexican Mafia
Member #3 told defendant A. RODRIGUEZ that Mexican Mafia Member #3
had something for defendant A. RODRIGUEZ to do when he saw him.

Overt Act No. 304: On November 18, 2013, by telephone using

 

coded language, Mexican Mafia Member #3 ordered six ounces of
methamphetamine from defendant REYES.

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Overt Act No. 305: On November 18, 2013, by telephone using -

 

coded language, Mexican Mafia Member #3 informed defendant REYES that
he was on the street in front of REYES’ residence, waiting to pick up
the six ounces of methamphetamine.

Overt Act No. 306: On November 19, 2013, by telephone using

 

coded language, defendant A. RODRIGUEZ told Mexican Mafia Member #3
that defendant A. RODRIGUEZ had obtained his license and could do his
“rounds” for Mexican Mafia Member #3 and that defendant A. RODRIGUEZ
and another unindicted co-conspirator had taxes to deliver.

Overt Act No. 307: On November 22, 2013, by telephone using

 

coded language, Mexican Mafia Member #3 told defendant ORTIGOZA that.
his Probation Officer had just left and that defendant S. RODRIGUEZ
had delivered money for defendant SANCHEZ, but that defendant SANCHEZ
still owed money to defendant A. RODRIGUEZ; and defendant ORTIGOZA
told Mexican Mafia Member #3 that he had told defendant S. RODRIGUEZ
that she still owed $500, but that he was going to tell her that she

actually owed $600.

 

Overt Act No. 308: On November 22, 2013, by telephone using
coded language, defendant A. RODRIGUEZ told Mexican Mafia Member #3
that he had money to deliver to Mexican Mafia Member #3, and Mexican
Mafia Member #3 told defendant A. RODRIGUEZ that he had spoken to an

unindicted “East-Side” gang member about a dispute within the |
organization and asked if defendant A. RODRIGUEZ wanted to “get at” a
Mexican Mafia member in order to address the conflict.

Overt Act No. 309: On August 18, 2014, defendant CORNEJO sold

 

approximately 431.5 grams of methamphetamine to a confidential
government informant for $4,300, at a parking lot in West Covina,

California.

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- Overt Act No. 310: On August 26, 2014, by text messages using

 

coded language, defendant CORNEJO agreed to sell one pound of

methamphetamine to a confidential government informant for $4,100.

 

Overt Act No. 311: On or about August 26, 2014, at a parking
lot in West Covina, California, defendant CORNEJO sold approximately
371.4 grams of methamphetamine to a confidential government informant
for $4,100 and agreed to deliver the remaining two ounces of
methamphetamine later.

Overt Act No. 312: On August 27, 2014, defendant CORNEJO

 

distributed approximately 218.3 grams of methamphetamine toa
confidential government informant at a parking lot in Los Angeles,
California, and defendant CORNEJO explained that the package included

the two ounces he owed as well as six ounces that he was “fronting.”

 

Overt Act No. 313: On September 8, 2014, defendant CORNEJO told
a confidential government informant that he could “front” up to four

pounds of methamphetamine.

Overt Act No. 314: On September 11, 2015, defendant O. GUERRERO

 

possessed approximately 20.28 grams of methamphetamine and cash,

consistent with narcotics sales, in Wilmington, California.

 

Overt Act No. 315: On September 28, 2015, defendant CORNEJO
maintained “Pay/Owe” sheets and concealed approximately 1.176 kg of
methamphetamine inside the door panel of a 2005 BMW sedan, before
delivering the methamphetamine to two customers, in the presence of
two small children, at a Target store parking lot in San Pedro,

California.

 

Overt Act No. 316; On July 11, 2016, Mexican Mafia Member #3
told incarcerated gang members that he had been informed by defendant
A. RODRIGUEZ about and had “read the paperwork” on an inmate who had

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provided information to law enforcement concerning a Mexican Mafia
associate which appeared in an indictment and that Mexican Mafia
Member #3 was “trying to take over Long Beach,” so Mexican Mafia
Member #3 directed the incarcerated gang members to beat the inmate
and “fine” him $500 to teach the inmate to “keep his f*cking mouth
shut”; and one of the incarcerated inmates told Mexican Mafia Member
#3 that defendant A. RODRIGUEZ had previously given “a verbal” |

authorization to attack the suspected informant.

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COUNT SIX
[21 U.S.C. §§ 841 (a) (1), (b) (1) (B) (viii) ]

On or about June 6, 2012, in Los Angeles County, within the
Central District of California, defendant JOSE BECERRA, also known as
“Sinaloa,” knowingly and intentionally distributed at least five
grams, that is, approximately 26.4 grams, of methamphetamine, a

Schedule II controlled substance.

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COUNT SEVEN
[21 U.S.C. §§ 841(a) (1), (b) (1) (B) (viii) ]

On or about July 3, 2012, in Los Angeles County, within the
Central District of California, defendant JOSE BECERRA, also known as
“Sinaloa,” knowingly and intentionally distributed at least five
grams, chat is, approximately 26.2 grams, of methamphetamine, a

Schedule II controlled substance.

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COUNT EIGHT ;
[21 U.S.C. §§ 841 (a) (1), (b) (1) (B) (viii) ]

On or about August 14, 2012, in Los Angeles County, within the-
Central District of California, defendant JUAN CARLOS HERNANDEZ, also
known as “Negro Trece,” knowingly and intentionally distributed at
least five grams, that is, approximately 27.3 grams, of

methamphetamine, a Schedule ITI. controlled substance.

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COUNT NINE
[21 U.S.C. §§ 841(a) (1), (b) (1) (B) (viii) ]

On or about August 22, 2012, in Los Angeles County, within the
Central District of California, defendant ERYANNA NEGRETE, also known
as (“aka”) “Baby Gangsta,” aka “Baby G,” knowingly and intentionally
distributed at least five grams, that is, approximately 27.2 grams,

of methamphetamine, a Schedule II controlled substance.

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COUNT TEN
[21 U.S.C, '§§ 841 (a) (1), (b) (1) (A) (viii) ]

On or about August 30, 2012, in Los Angeles County, within the
Central District of California, defendant ERYANNA NEGRETE, also known |
as (“aka”) “Baby Gangsta,” aka “Baby G,” knowingly and intentionally
distributed at least 50 grams, that is, approximately 53.4 grams, of

methamphetamine, a Schedule II controlled substance.

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COUNT ELEVEN
[21 U.S.C, §§ 841 (a) (1), (b) (1) (A) (viii) ]
on or about September 12, 2012, in Los angeles County, within
the Central District of California, defendant JOSE. HERNANDEZ AGUIAR,
also known as “Big Joe,” knowingly and intentionally distributed at
least 50 grams, that is, approximately 55 grams, of methamphetamine,

a Schedule II controlled substance.

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COUNT TWELVE
[21 U.S.C. §§ 841(a) (1), (b) (1) (B) (viii) ]

On or about September 26, 2012, in Los Angeles County, within
the Central District of California, defendants ERYANNA NEGRETE, also
known as (“aka”) “Baby Gangsta,” aka “Baby G,” and EDWARD WILLIAM
GUERRERO, aka “Toro,” knowingly and intentionally distributed at
least five grams, that is, approximately 45.0 grams, of

methamphetamine, a Schedule II controlled substance.

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COUNT THIRTEEN
[21 U.S.C. §§ 841(a) (1), (b) (1) (A) (viii) ]

On or about October 18, 2012, in Los Angeles County, within the
Central District of California, defendant JOSE HERNANDEZ AGUIAR, also
known as “Big Joe,” knowingly and intentionally distributed at least
50 grams, that is, approximately 55.6 grams, of methamphetamine, a

Schedule II controlled substance.

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COUNT FOURTEEN
[21 U.S.C. §§ 841(a) (1), (b) (1) (B) (viii) ]

On or about November 10, 2012, in Los Angeles County, within the
Central District of California, defendant ERYANNA NEGRETE, also known
as (“aka”) “Baby Gangsta,” aka “Baby G,” knowingly and intentionally
possessed with intent to distribute at least five grams, that is,
approximately 11.6 grams, of methamphetamine, a Schedule II

controlled substance.

 

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COUNT FIFTEEN
[21 U.S.C. SS 841 (a) (1), (b) (1) (A) (viii) ]
on or about February 12, 2013, in Los Angeles County, within the.
Central District of California, defendant JUAN LOPEZ, also known as_
“Spanky,” knowingly and intentionally distributed at least 50 grams,
that is, approximately 82.4 grams, of methamphetamine, a Schedule IL

controlled substance.

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COUNT SIXTEEN
[21 U.S.C. S§ 841 (a) (1), (b) (1) (B) (viii) ]

On or about February 26, 2013, in Los Angeles County, within the
Central District of California, defendant JAVIER FRAUSTO, also known
as “Candyman,” knowingly and intentionally distributed at least five
grams, that is, approximately 27.5 grams, of methamphetamine, a

Schedule II controlled substance.

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COUNT SEVENTEEN
[21 U.S.C. SS 841 (a) (1), (b) (1) (A) (viii) ]

On or about March 12; 2013, in Los Angeles County, within the
Central District of California, defendant JUAN LOPEZ, also known as
“gpanky,” knowingly and intentionally distributed at least 50 grams,
that is, approximately 83 grams, of methamphetamine, a Schedule ITI

controlled substance.

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COUNT EIGHTEEN
[21 uU.S.c. §§ 841 (a) (1), (b) (1) (A) (viii) ]

On or about April 15, 2013, in Los Angeles County, within the
Central District of California, defendant JUAN LOPEZ, also known as
“Spanky,” knowingly and intentionally distributed at least 50 grams,
that is, approximately 82.2 grams, of methamphetamine, a Schedule II

controlled substance.

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COUNT NINETEEN

[21 U.S.C. §§ 841 (a) (1), (b) (1) (A) (viii); 18 U.S.C. § 2 (a) ]

On or about May 16, 2013, in Los Angeles County, within the
Central District of California, defendants MIGUEL MACIEL, also known
as (“aka”) “Goat,” and JESSICA FRAUSTO, aka “Lil Jess,” each aiding
and abetting the other, knowingly and intentionally distributed at
least 50 grams, that is, approximately 55.1 grams, of

methamphetamine, a Schedule I! controlled substance. |

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COUNT TWENTY
[21 U.S.C. §§ 841 (a) (1), (b) (1) (A) (viii)]

On or about June 11, 2013, in Los Angeles County, within the
Central District of California, defendant JUAN CARLOS HERNANDEZ, also
known as “Negro Trece,” knowingly and intentionally distributed at
least 50 grams, that is, approximately 56.3 grams, of .

methamphetamine, a Schedule II controlled substance.

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COUNT TWENTY-ONE
[21 U.S.C. $§ 841(a) (1), (b) (1) (A) (vidi) ]

On or about June 19, 2013, in Los Angeles County, within the
Central District of California, defendant JESSICA FRAUSTO, also known
as “Lil Jess,” knowingly and intentionally distributed at least 50
grams, that is, approximately 56.3 grams, of methamphetamine, a

Schedule II controlled substance.

 

 

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COUNT TWENTY-TWO
[21 U.S.C. §§ 841 (a) (1), (b) (1) (A) (viii) ]

On or about June 25, 2013, in Los Angeles County, within the
Central District of California, defendant JOSE HERNANDEZ AGUIAR, also
known as “Big Joe,” knowingly and intentionally distributed at least
50 grams, that is, approximately 54.9 grams, of methamphetamine, a

Schedule II controlled substance.

 

 

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COUNT TWENTY-THREE

[21 U.S.C. S$§ 841 (a) (1), (b) (1) (A) (wid): 18 U.S.C. § 2(a)]

On or about July 2, 2013, in Los Angeles County, within the
Central District of California, defendants FRANCISCO HERNANDEZ, also
known as (“aka”) “Pancho,” and OTONIEL GUERRERO, aka “Twin,” each
aiding and abetting the other, knowingly and intentionally

distributed at least 50 grams, that is, approximately 109.7 grams, of

methamphetamine, a Schedule II controlled substance.

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COUNT TWENTY-FOUR

[21 U.S.C. S§ 841(a) (1), (b) (1) (A) (viii); 18 U.S.C. § 2(a)]

On or about July 9, 2013, in Los Angeles County, within the
Central District of California, defendants FRANCISO HERNANDEZ, also
known as (“aka”) “Pancho,” and ERYANNA NEGRETE, aka “Baby Gangsta,”
aka “Baby G,” each aiding and abetting the other, knowingly and
intentionally distributed at least 50 grams, that is, approximately

111.2 grams, of methamphetamine, a Schedule II controlled substance.

 

 

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COUNT TWENTY-FIVE
[21 U.S.C. §§ 841 (a) (1), (b) (1) (B) (viii) J

On or about September 19, 2013, in Los Angeles County, within
the Central District of California, defendants ARMANDO SORIANO, also
known as (“aka”) “210,” aka “Mando,” and DESIREE HERNANDEZ, aka
“Dimples,” aka “Dez,” aka “Deserie,” knowingly and intentionally
possessed with intent to distribute at least five grams, that is, |
approximately 32.4 grams, of methamphetamine, a Schedule IL

controlled substance.

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COUNT TWENTY-SIX
[21.U.8.C. §§ 841(a) (1), (b) (1) (A) (viii) ]
On or about August 18, 2014, in Los Angeles County, within the
Central District of California, defendant RAUL CORNEJO knowingly and
intentionally distributed at least 50 grams, that is, approximately

431.5 grams, of methamphetamine, a Schedule II controlled substance.

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COUNT TWENTY-SEVEN
[21 U.S.C. §$§ 841(a) (1), (b) (1) (A) (viii) ]
On or about August 26, 2014, ,in Los Angeles County, within the
Central District of California, defendant RAUL CORNEJO knowingly and
intentionally distributed at least 50 grams, that is, approximately

371.4 grams, of methamphetamine, a Schedule II controlled substance.

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COUNT TWENTY-EIGHT
[21 U.S.C. §§ 841(a) (1), (b) (1) (A) (viii) ]
On or about August 27, 2014, in Los Angeles County, within the
Central District of California, defendant RAUL CORNEJO knowingly and
intentionally distributed at least 50 grams, that is, approximately

218.3 grams, of methamphetamine, a Schedule II controlled substance.

 

 

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COUNT TWENTY-NINE
[21 U.S.C. §§ 841(a) (1), (b) (1) (A) (viii) ]
On or about September 28, 2015, in Los Angeles County, within
the Central District of California, defendant RAUL CORNEJO knowingly
and intentionally distributed at least 50 grams, that is,

approximately 1,176 grams, of methamphetamine, a Schedule II

controlled substance.

 

 

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COUNT THIRTY
[18 U.S.C. § 1512(a) (2)]

On or about September 16, 2013, in Los Angeles County, within
the Central District of California, defendants LAWRENCE RUBLE KELLY,
also known as (“aka”) “Puppet,” aka “Lil Puppet,” aka “Pups,” aka
“Pp”; ARMANDO SORIANO, aka “210,” aka “Mando”; and JEREMY WOODRUFF,
aka “Solo,” knowingly attempted to use physical force and the threat
of physical force, with the intent to influence, delay, and prevent
the testimony of another person in an official proceeding, and cause
and induce the person to withhold testimony from an official
proceeding, and otherwise to hinder, delay, and prevent the
communication to a law enforcement officer and judge of the United
States of information relating to the commission or possible

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commission of a federal offense. (

 

 

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COUNT THIRTY-ONE
[18 U.S.C. § 922(g) (1)]

On or about January 24, 2013, in Los Angeles County, within the
Central. District of California, defendant SUSANNA RODRIGUEZ (‘S.
RODRIGUEZ”), knowingly possessed a Mossberg .410 gauge shotgun,
bearing serial number K255074, in and affecting interstate commerce.
| Such possession occurred after defendant S. RODRIGUEZ had been
convicted of at least one of the following felony crimes, each
punishable by a term of imprisonment exceeding one year:

1. Transportation of a Controlled Substance, in violation of
California Health and Safety Code Section 11379 (a), in the Superior
Court of the State of California, County of Los Angeles, Case Number
XSONA06959301, on or about July 17, 2006; and

2. Receiving Stolen Property, in violation of California Penal

 

 

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Code Section 496(a), in the Superior Court of the State of
California, County of Los Angeles, Case Number SBAYA06484602, on or

about October 17, 2006.

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Foreperson

EILEEN M. DECKER
United States Attorney

LAWRENCE S. MIDDLETON
Assistant United States Attorney
Chief, Criminal Division

JUSTIN R. RHOADES

Assistant United States Attorney

Chief, Violent and Organized
Crime Section

CHRISTOPHER BRUNWIN ;

Assistant United States Attorney

Violent and Organized Crime
Section

 

 

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